                                                                                                           Case 09-33843-MBK                            Doc 1
                                                                                                                                                          Filed 09/10/09 Entered 09/10/09 12:45:06 Desc Main
                                                                                               B1 (Official Form 1) (1/08)                               Document Page 1 of 60
                                                                                                                                         United States Bankruptcy Court                        Voluntary Petition
                                                                                                                                              District of New Jersey
                                                                                                Name of Debtor (if individual, enter Last, First, Middle):                                     Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                                                 BECKER, DAVID                                                                                      BECKER, BONNIE
                                                                                                All Other Names used by the Debtor in the last 8 years                                         All Other Names used by the Joint Debtor in the last 8 years
                                                                                                (include married, maiden, and trade names):                                                    (include married, maiden, and trade names):
                                                                                                 None                                                                                               None

                                                                                               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
                                                                                               (if more than one, state all): 8789                                               (if more than one, state all):    9199
                                                                                                Street Address of Debtor (No. and Street, City, and State)                                     Street Address of Joint Debtor (No. and Street, City, and State
                                                                                                 143 SOUTH MAIN STREET                                                                              143 SOUTH MAIN STREET
                                                                                                 MILLTOWN, NJ                                                                                       MILLTOWN, NJ
                                                                                                                                                                      ZIPCODE                                                                                  ZIPCODE
                                                                                                                                                                         08850                                                                                    08850
                                                                                                County of Residence or of the Principal Place of Business:                                     County of Residence or of the Principal Place of Business:
                                                                                                 Middlesex                                                                                          Middlesex
                                                                                                Mailing Address of Debtor (if different from street address):                                  Mailing Address of Joint Debtor (if different from street address):



                                                                                                                                                                      ZIPCODE                                                                                  ZIPCODE

                                                                                                Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                                                                                               ZIPCODE

                                                                                                              Type of Debtor                                         Nature of Business                                     Chapter of Bankruptcy Code Under Which
                                                                                                           (Form of Organization)                         (Check one box)                                                        the Petition is Filed (Check one box)
                                                                                                              (Check one box)                                 Health Care Business                                     Chapter 7
                                                                                                                                                              Single Asset Real Estate as defined in
                                                                                                                                                                                                                                                 Chapter 15 Petition for
                                                                                                   Individual (includes Joint Debtors)
                                                                                                                                                                                                                       Chapter 9                 Recognition of a Foreign
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                                                                                                   See Exhibit D on page 2 of this form.                      11 U.S.C. § 101 (51B)
                                                                                                                                                              Railroad                                                                           Main Proceeding
                                                                                                   Corporation (includes LLC and LLP)                                                                                  Chapter 11
                                                                                                   Partnership                                                Stockbroker                                                                        Chapter 15 Petition for
                                                                                                                                                                                                                        Chapter 12
                                                                                                   Other (If debtor is not one of the above entities,         Commodity Broker                                                                   Recognition of a Foreign
                                                                                                                                                                                                                       Chapter 13                Nonmain Proceeding
                                                                                                   check this box and state type of entity below.)            Clearing Bank
                                                                                                                                                              Other                                                                     Nature of Debts
                                                                                                                                                                                                                                         (Check one box)
                                                                                                                                                                                                                       Debts are primarily consumer
                                                                                                                                                                         Tax-Exempt Entity                             debts, defined in 11 U.S.C.             Debts are primarily
                                                                                                                                                                       (Check box, if applicable)                      §101(8) as "incurred by an              business debts
                                                                                                                                                                 Debtor is a tax-exempt organization                   individual primarily for a
                                                                                                                                                                 under Title 26 of the United States                   personal, family, or household
                                                                                                                                                                 Code (the Internal Revenue Code)                      purpose."
                                                                                                                           Filing Fee (Check one box)                                                   Check one box:       Chapter 11 Debtors
                                                                                                       Full Filing Fee attached                                                                            Debtor is a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                                                                                                           Debtor is not a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                       Filing Fee to be paid in installments (Applicable to individuals only) Must attach               Check if:
                                                                                                       signed application for the court's consideration certifying that the debtor is unable               Debtor’s aggregate noncontingent liquidated debts (excluding debts
                                                                                                       to pay fee except in installments. Rule 1006(b). See Official Form No. 3A.                          owed to insiders or affiliates) are less than $2,190,000
                                                                                                                                                                                                        Check all applicable boxes
                                                                                                       Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                        A plan is being filed with this petition.
                                                                                                       attach signed application for the court’s consideration. See Official Form 3B.
                                                                                                                                                                                                           Acceptances of the plan were solicited prepetition from one or
                                                                                                                                                                                                           more classes, in accordance with 11 U.S.C. § 1126(b).
                                                                                                 Statistical/Administrative Information                                                                                                                        THIS SPACE IS FOR
                                                                                                                                                                                                                                                               COURT USE ONLY
                                                                                                   Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                                                   Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                                                   distribution to unsecured creditors.
                                                                                               Estimated Number of Creditors

                                                                                                1-49           50-99          100-199           200-999          1000-            5,001-            10,001-        25,001-          50,001-       Over
                                                                                                                                                                 5000             10,000            25,000         50,000           100,000       100,000
                                                                                               Estimated Assets

                                                                                               $0 to          $50,001 to     $100,001 to       $500,001       $1,000,001       $10,000,001     $50,000,001       $100,000,001     $500,000,001    More than
                                                                                               $50,000        $100,000       $500,000          to $1           to $10           to $50         to $100           to $500          to $1 billion   $1 billion
                                                                                                                                               million        million          million         million           million
                                                                                               Estimated Liabilities

                                                                                               $0 to          $50,001 to     $100,001 to       $500,001       $1,000,001       $10,000,001     $50,000,001       $100,000,001     $500,000,001    More than
                                                                                               $50,000        $100,000       $500,000          to $1           to $10           to $50         to $100           to $500          to $1 billion   $1 billion
                                                                                                                                               million        million          million         million           million
                                                                                                      Case
                                                                                               B1 (Official   09-33843-MBK
                                                                                                            Form 1) (1/08)                         Doc 1         Filed 09/10/09 Entered 09/10/09 12:45:06                                               Desc Main               Page 2
                                                                                               Voluntary Petition                                                Document Page Name2ofof 60
                                                                                                                                                                                      Debtor(s):
                                                                                               (This page must be completed and filed in every case)                                       DAVID BECKER & BONNIE BECKER
                                                                                                                     All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                                               Location                                                                             Case Number:                                           Date Filed:
                                                                                               Where Filed:
                                                                                                                      NONE

                                                                                               Location                                                                              Case Number:                                          Date Filed:
                                                                                               Where Filed:
                                                                                                                N.A.
                                                                                                  Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                                                Name of Debtor: NONE                                     Case Number:                           Date Filed:


                                                                                                District:                                                                            Relationship:                                          Judge:


                                                                                                                               Exhibit A                                                                                         Exhibit B
                                                                                                                                                                                                                 (To be completed if debtor is an individual
                                                                                               (To be completed if debtor is required to file periodic reports (e.g., forms                                      whose debts are primarily consumer debts)
                                                                                               10K and 10Q) with the Securities and Exchange Commission pursuant to
                                                                                               Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting            I, the attorney for the petitioner named in the foregoing petition, declare that I have informed
                                                                                                                                                                                       the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13 of title 11, United
                                                                                               relief under chapter 11)                                                                States Code, and have explained the relief available under each such chapter.
                                                                                                                                                                                       I further certify that I delivered to the debtor the notice required by 11 U.S.C. § 342(b).




                                                                                                        Exhibit A is attached and made a part of this petition.                        X       /s/ Edward Hanratty 5750                                  9/1/09
                                                                                                                                                                                             Signature of Attorney for Debtor(s)                              Date


                                                                                                                                                                            Exhibit C
                                                                                               Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

                                                                                                        Yes, and Exhibit C is attached and made a part of this petition.
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                                                                                                        No

                                                                                                                                                                              Exhibit D
                                                                                                (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                                                            Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                                                If this is a joint petition:
                                                                                                            Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                                                                                                           Information Regarding the Debtor - Venue
                                                                                                                                                                       (Check any applicable box)
                                                                                                                        Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days
                                                                                                                        immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.

                                                                                                                        There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.


                                                                                                                        Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United Sates in this District,
                                                                                                                        or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in federal or state
                                                                                                                        court] in this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                                                                                                  Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                                         (Check all applicable boxes)
                                                                                                                        Landlord has a judgment for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                                                                        (Name of landlord that obtained judgment)


                                                                                                                                                                         (Address of landlord)
                                                                                                                        Debtor claims that under applicable non bankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                                                                                                                        entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                                                                        Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day
                                                                                                                        period after the filing of the petition.
                                                                                                                        Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).
                                                                                                           Case 09-33843-MBK                     Doc 1        Filed 09/10/09 Entered 09/10/09 12:45:06                                               Desc Main
                                                                                               B1 (Official Form 1) (1/08)                                    Document Page 3 of 60                                                                                            Page 3
                                                                                               Voluntary Petition                                                                     Name of Debtor(s):
                                                                                               (This page must be completed and filed in every case)                                 DAVID BECKER & BONNIE BECKER
                                                                                                                                                                              Signatures
                                                                                                           Signature(s) of Debtor(s) (Individual/Joint)                                                 Signature of a Foreign Representative
                                                                                                 I declare under penalty of perjury that the information provided in this petition
                                                                                                 is true and correct.
                                                                                                 [If petitioner is an individual whose debts are primarily consumer debts and         I declare under penalty of perjury that the information provided in this petition
                                                                                                 has chosen to file under chapter 7] I am aware that I may proceed under              is true and correct, that I am the foreign representative of a debtor in a foreign
                                                                                                 chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief      proceeding, and that I am authorized to file this petition.
                                                                                                 available under each such chapter, and choose to proceed under chapter 7.
                                                                                                 [If no attorney represents me and no bankruptcy petition preparer signs the          (Check only one box.)
                                                                                                 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                                                                                                                  I request relief in accordance with chapter 15 of title 11, United States
                                                                                                 I request relief in accordance with the chapter of title 11, United States                       Code. Certified copies of the documents required by § 1515 of title 11 are
                                                                                                 Code, specified in this petition.                                                                attached.

                                                                                                                                                                                                  Pursuant to 11 U.S.C.§ 1511, I request relief in accordance with the chapter of
                                                                                                                                                                                                  title 11 specified in this petition.  A certified copy of the order granting
                                                                                                                                                                                                  recognition of the foreign main proceeding is attached.
                                                                                                 X /s/ DAVID BECKER
                                                                                                     Signature of Debtor                                                                  X
                                                                                                                                                                                              (Signature of Foreign Representative)
                                                                                                 X /s/ BONNIE BECKER
                                                                                                    Signature of Joint Debtor

                                                                                                                                                                                              (Printed Name of Foreign Representative)
                                                                                                     Telephone Number (If not represented by attorney)
                                                                                                      9/1/09
                                                                                                      Date                                                                                     (Date)
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                                                                                                                      Signature of Attorney*
                                                                                                X      /s/ Edward Hanratty 5750                                                                  Signature of Non-Attorney Petition Preparer
                                                                                                     Signature of Attorney for Debtor(s)                                               I declare under penalty of perjury that: 1) I am a bankruptcy petition preparer
                                                                                                                                                                                       as defined in 11 U.S.C. § 110, 2) I prepared this document for compensation,
                                                                                                    EDWARD HANRATTY 5750                                                               and have provided the debtor with a copy of this document and the notices
                                                                                                     Printed Name of Attorney for Debtor(s)                                            and information required under 11 U.S.C. § 110(b), 110(h), and 342(b); and,
                                                                                                                                                                                       3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110
                                                                                                                                                                                       setting a maximum fee for services chargeable by bankruptcy petition
                                                                                                     Firm Name                                                                         preparers, I have given the debtor notice of the maximum amount before any
                                                                                                                                                                                       document for filing for a debtor or accepting any fee from the debtor, as
                                                                                                     Address                                                                           required in that section. Official Form 19 is attached.


                                                                                                                                                                                       Printed Name and title, if any, of Bankruptcy Petition Preparer

                                                                                                    Telephone Number
                                                                                                                                                                                       Social Security Number (If the bankruptcy petition preparer is not an individual,
                                                                                                    9/1/09                                                                             state the Social Security number of the officer, principal, responsible person or
                                                                                                   Date                                                                                partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                                                *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
                                                                                                certification that the attorney has no knowledge after an inquiry that the
                                                                                                information in the schedules is incorrect.                                              Address

                                                                                                       Signature of Debtor (Corporation/Partnership)
                                                                                                  I declare under penalty of perjury that the information provided in this petition
                                                                                                  is true and correct, and that I have been authorized to file this petition on       X
                                                                                                  behalf of the debtor.

                                                                                                  The debtor requests relief in accordance with the chapter of title 11,                  Date
                                                                                                  United States Code, specified in this petition.
                                                                                                                                                                                          Signature of bankruptcy petition preparer or officer, principal, responsible
                                                                                                                                                                                          person, or partner whose Social Security number is provided above.
                                                                                                X
                                                                                                    Signature of Authorized Individual                                                    Names and Social Security numbers of all other individuals who prepared or
                                                                                                                                                                                          assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                                                                                                          not an individual:
                                                                                                     Printed Name of Authorized Individual
                                                                                                                                                                                          If more than one person prepared this document, attach additional sheets
                                                                                                                                                                                          conforming to the appropriate official form for each person.
                                                                                                     Title of Authorized Individual
                                                                                                                                                                                          A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                                                                                                                          and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                    Date                                                                                  imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
                                                                                                   Case 09-33843-MBK                        Doc 1   Filed 09/10/09 Entered 09/10/09 12:45:06     Desc Main
                                                                                                                                                    Document Page 4 of 60
                                                                                               B1 D (Official Form 1, Exhibit D ) (12/08)


                                                                                                                                   UNITED STATES BANKRUPTCY COURT
                                                                                                                                                      District of New Jersey




                                                                                                     DAVID BECKER & BONNIE BECKER
                                                                                               In re______________________________________                                     Case No._____________
                                                                                                            Debtor(s)                                                                (if known)


                                                                                                          EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                                                                                                          CREDIT COUNSELING REQUIREMENT

                                                                                                       Warning: You must be able to check truthfully one of the five statements regarding
                                                                                               credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
                                                                                               case, and the court can dismiss any case you do file. If that happens, you will lose whatever
                                                                                               filing fee you paid, and your creditors will be able to resume collection activities against
                                                                                               you. If your case is dismissed and you file another bankruptcy case later, you may be
                                                                                               required to pay a second filing fee and you may have to take extra steps to stop creditors'
                                                                                               collection activities.
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                                                                                                      Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
                                                                                               must complete and file a separate Exhibit D. Check one of the five statements below and attach
                                                                                               any documents as directed.

                                                                                                      1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                               from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                               administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                               performing a related budget analysis, and I have a certificate from the agency describing the
                                                                                               services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
                                                                                               developed through the agency.

                                                                                                       2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                               from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                               administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                               performing a related budget analysis, but I do not have a certificate from the agency describing
                                                                                               the services provided to me. You must file a copy of a certificate from the agency describing the
                                                                                               services provided to you and a copy of any debt repayment plan developed through the agency
                                                                                               no later than 15 days after your bankruptcy case is filed.
                                                                                                   Case 09-33843-MBK                    Doc 1   Filed 09/10/09 Entered 09/10/09 12:45:06   Desc Main
                                                                                                                                                Document Page 5 of 60
                                                                                               B1 D (Official Form 1, Exh. D) (12/08) – Cont.                                              Page 2


                                                                                                       3. I certify that I requested credit counseling services from an approved agency but
                                                                                               was unable to obtain the services during the five days from the time I made my request, and the
                                                                                               following exigent circumstances merit a temporary waiver of the credit counseling requirement
                                                                                               so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                                                      If your certification is satisfactory to the court, you must still obtain the credit
                                                                                               counseling briefing within the first 30 days after you file your bankruptcy case and
                                                                                               promptly file a certificate from the agency that provided the counseling, together with a
                                                                                               copy of any debt management plan developed through the agency. Failure to fulfill these
                                                                                               requirements may result in dismissal of your case. Any extension of the 30-day deadline
                                                                                               can be granted only for cause and is limited to a maximum of 15 days. Your case may also
                                                                                               be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
                                                                                               without first receiving a credit counseling briefing.

                                                                                                      4. I am not required to receive a credit counseling briefing because of: [Check the
                                                                                               applicable statement.] [Must be accompanied by a motion for determination by the court.]
                                                                                                              Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                                                                                                      illness or mental deficiency so as to be incapable of realizing and making rational
                                                                                                      decisions with respect to financial responsibilities.);
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                                                                                                              Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
                                                                                                      extent of being unable, after reasonable effort, to participate in a credit counseling
                                                                                                      briefing in person, by telephone, or through the Internet.);
                                                                                                              Active military duty in a military combat zone.

                                                                                                      5. The United States trustee or bankruptcy administrator has determined that the credit
                                                                                               counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

                                                                                                      I certify under penalty of perjury that the information provided above is true and
                                                                                               correct.



                                                                                                                            Signature of Debtor:             /s/ DAVID BECKER
                                                                                                                                                            DAVID BECKER

                                                                                                                                                         9/1/09
                                                                                                                                                Date: _________________
                                                                                                   Case 09-33843-MBK                        Doc 1   Filed 09/10/09 Entered 09/10/09 12:45:06     Desc Main
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                                                                                               B1 D (Official Form 1, Exhibit D ) (12/08)


                                                                                                                                   UNITED STATES BANKRUPTCY COURT
                                                                                                                                                      District of New Jersey




                                                                                                     DAVID BECKER & BONNIE BECKER
                                                                                               In re______________________________________                                     Case No._____________
                                                                                                            Debtor(s)                                                                (if known)


                                                                                                          EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                                                                                                          CREDIT COUNSELING REQUIREMENT

                                                                                                       Warning: You must be able to check truthfully one of the five statements regarding
                                                                                               credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
                                                                                               case, and the court can dismiss any case you do file. If that happens, you will lose whatever
                                                                                               filing fee you paid, and your creditors will be able to resume collection activities against
                                                                                               you. If your case is dismissed and you file another bankruptcy case later, you may be
                                                                                               required to pay a second filing fee and you may have to take extra steps to stop creditors'
                                                                                               collection activities.
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                                                                                                      Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
                                                                                               must complete and file a separate Exhibit D. Check one of the five statements below and attach
                                                                                               any documents as directed.

                                                                                                      1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                               from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                               administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                               performing a related budget analysis, and I have a certificate from the agency describing the
                                                                                               services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
                                                                                               developed through the agency.

                                                                                                       2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                               from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                               administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                               performing a related budget analysis, but I do not have a certificate from the agency describing
                                                                                               the services provided to me. You must file a copy of a certificate from the agency describing the
                                                                                               services provided to you and a copy of any debt repayment plan developed through the agency
                                                                                               no later than 15 days after your bankruptcy case is filed.
                                                                                                   Case 09-33843-MBK                    Doc 1   Filed 09/10/09 Entered 09/10/09 12:45:06   Desc Main
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                                                                                                       3. I certify that I requested credit counseling services from an approved agency but
                                                                                               was unable to obtain the services during the five days from the time I made my request, and the
                                                                                               following exigent circumstances merit a temporary waiver of the credit counseling requirement
                                                                                               so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                                                      If your certification is satisfactory to the court, you must still obtain the credit
                                                                                               counseling briefing within the first 30 days after you file your bankruptcy case and
                                                                                               promptly file a certificate from the agency that provided the counseling, together with a
                                                                                               copy of any debt management plan developed through the agency. Failure to fulfill these
                                                                                               requirements may result in dismissal of your case. Any extension of the 30-day deadline
                                                                                               can be granted only for cause and is limited to a maximum of 15 days. Your case may also
                                                                                               be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
                                                                                               without first receiving a credit counseling briefing.

                                                                                                      4. I am not required to receive a credit counseling briefing because of: [Check the
                                                                                               applicable statement.] [Must be accompanied by a motion for determination by the court.]
                                                                                                              Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                                                                                                      illness or mental deficiency so as to be incapable of realizing and making rational
                                                                                                      decisions with respect to financial responsibilities.);
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                                                                                                              Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
                                                                                                      extent of being unable, after reasonable effort, to participate in a credit counseling
                                                                                                      briefing in person, by telephone, or through the Internet.);
                                                                                                              Active military duty in a military combat zone.

                                                                                                      5. The United States trustee or bankruptcy administrator has determined that the credit
                                                                                               counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

                                                                                                      I certify under penalty of perjury that the information provided above is true and
                                                                                               correct.



                                                                                                                         Signature of Joint Debtor:          /s/ BONNIE BECKER
                                                                                                                                                            BONNIE BECKER

                                                                                                                                                         9/1/09
                                                                                                                                                Date: _________________
                                                                                               Case 09-33843-MBK         Doc 1     Filed 09/10/09 Entered 09/10/09 12:45:06               Desc Main
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                                                                                                 B6 Cover (Form 6 Cover) (12/07)



                                                                                                  FORM 6. SCHEDULES

                                                                                                  Summary of Schedules
                                                                                                  Statistical Summary of Certain Liabilities and Related Data (28 U.S.C. § 159)
                                                                                                  Schedule A - Real Property
                                                                                                  Schedule B - Personal Property
                                                                                                  Schedule C - Property Claimed as Exempt
                                                                                                  Schedule D - Creditors Holding Secured Claims
                                                                                                  Schedule E - Creditors Holding Unsecured Priority Claims
                                                                                                  Schedule F - Creditors Holding Unsecured Nonpriority Claims
                                                                                                  Schedule G - Executory Contracts and Unexpired Leases
                                                                                                  Schedule H - Codebtors
                                                                                                  Schedule I - Current Income of Individual Debtor(s)
                                                                                                  Schedule J - Current Expenditures of Individual Debtor(s)

                                                                                                  Unsworn Declaration under Penalty of Perjury
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                                                                                                  GENERAL INSTRUCTIONS: The first page of the debtor’s schedules and the first page of any
                                                                                                  amendments thereto must contain a caption as in Form 16B. Subsequent pages should be
                                                                                                  identified with the debtor’s name and case number. If the schedules are filed with the petition,
                                                                                                  the case number should be left blank

                                                                                                  Schedules D, E, and F have been designed for the listing of each claim only once. Even when a
                                                                                                  claim is secured only in part or entitled to priority only in part, it still should be listed only once.
                                                                                                  A claim which is secured in whole or it part should be listed on Schedule D only, and a claim
                                                                                                  which is entitled to priority in whole or in part should be listed on Schedule E only. Do not list
                                                                                                  the same claim twice. If a creditor has more than one claim, such as claims arising from separate
                                                                                                  transactions, each claim should be scheduled separately.

                                                                                                  Review the specific instructions for each schedule before completing the schedule.
                                                                                                          Case
                                                                                               B6A (Official Form09-33843-MBK
                                                                                                                 6A) (12/07)                   Doc 1       Filed 09/10/09 Entered 09/10/09 12:45:06                                              Desc Main
                                                                                                                                                           Document Page 9 of 60
                                                                                               In re    DAVID BECKER & BONNIE BECKER                                                          Case No.
                                                                                                                          Debtor                                                                                                    (If known)

                                                                                                                                               SCHEDULE A - REAL PROPERTY
                                                                                                  Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
                                                                                               tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
                                                                                               the debtor’s own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an “H,”
                                                                                               “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
                                                                                               “Description and Location of Property.”

                                                                                                 Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                               Unexpired Leases.

                                                                                                   If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
                                                                                               claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                                                  If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C –
                                                                                               Property Claimed as Exempt.




                                                                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                                                                       OR COMMUNITY
                                                                                                                                                                                                                              CURRENT VALUE
                                                                                                                                                                                                                                OF DEBTOR’S
                                                                                                             DESCRIPTION AND LOCATION                              NATURE OF DEBTOR’S                                           INTEREST IN        AMOUNT OF
                                                                                                                    OF PROPERTY                                   INTEREST IN PROPERTY                                      PROPERTY, WITHOUT       SECURED
                                                                                                                                                                                                                              DEDUCTING ANY          CLAIM
                                                                                                                                                                                                                              SECURED CLAIM
                                                                                                                                                                                                                               OR EXEMPTION
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                                                                                                RESIDENCE                                                     Fee Simple                                 H                         109,000.00       Exceeds Value
                                                                                                143 SOUTH MAIN STREET
                                                                                                MILLTOWN, NJ 08850




                                                                                                                                                                                             Total
                                                                                                                                                                                                                                   109,000.00

                                                                                                                                                                                             (Report also on Summary of Schedules.)
                                                                                                         Case
                                                                                               B6B (Official Form09-33843-MBK
                                                                                                                  6B) (12/07)                           Doc 1     Filed 09/10/09 Entered 09/10/09 12:45:06                                       Desc Main
                                                                                                                                                                 Document Page 10 of 60
                                                                                               In re     DAVID BECKER & BONNIE BECKER                                                           Case No.
                                                                                                                                 Debtor                                                                             (If known)

                                                                                                                                                  SCHEDULE B - PERSONAL PROPERTY
                                                                                                    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
                                                                                               place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
                                                                                               identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital
                                                                                               community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
                                                                                               individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

                                                                                                   Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                               Unexpired Leases.

                                                                                                     If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
                                                                                               If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                               "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See. 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                          HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                 CURRENT VALUE OF




                                                                                                                                                                                                                            OR COMMUNITY
                                                                                                                                                                                                                                                 DEBTOR’S INTEREST
                                                                                                                                                        N                                                                                           IN PROPERTY,
                                                                                                           TYPE OF PROPERTY                             O                 DESCRIPTION AND LOCATION                                                    WITHOUT
                                                                                                                                                        N                       OF PROPERTY                                                       DEDUCTING ANY
                                                                                                                                                        E                                                                                         SECURED CLAIM
                                                                                                                                                                                                                                                   OR EXEMPTION


                                                                                                 1. Cash on hand.                                           CASH                                                              J                           100.00
                                                                                                 2. Checking, savings or other financial accounts,          CHECKING ACCOUNT                                                  J                         2,400.00
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                                                                                                 certificates of deposit, or shares in banks, savings
                                                                                                 and loan, thrift, building and loan, and homestead         Brokerage Account                                                 W                         4,717.83
                                                                                                 associations, or credit unions, brokerage houses,
                                                                                                 or cooperatives.
                                                                                                                                                            Ameriprise Financial Services
                                                                                                                                                            753 Ameriprise Financial Center
                                                                                                                                                            Minneapolis, MInn 55474

                                                                                                                                                            Savings Account                                                   W                            26.11
                                                                                                                                                            ING Direct
                                                                                                                                                            PO Box 60
                                                                                                                                                            St. Cloud MN 56302

                                                                                                 3. Security deposits with public utilities,            X
                                                                                                 telephone companies, landlords, and others.

                                                                                                 4. Household goods and furnishings, including              HOUSEHOLD GOODS                                                   J                         2,000.00
                                                                                                 audio, video, and computer equipment.

                                                                                                 5. Books. Pictures and other art objects,                  BOOKS                                                             J                         1,000.00
                                                                                                 antiques, stamp, coin, record, tape, compact disc,
                                                                                                 and other collections or collectibles.

                                                                                                 6. Wearing apparel.                                        WEARING APPAREL                                                   J                           500.00
                                                                                                 7. Furs and jewelry.                                   X
                                                                                                 8. Firearms and sports, photographic, and other            canon powershot sd850 is (camera)                                 J                           150.00
                                                                                                 hobby equipment.
                                                                                                                                                            residence

                                                                                                 9. Interests in insurance policies. Name               X
                                                                                                 insurance company of each policy and itemize
                                                                                                 surrender or refund value of each.
                                                                                                          Case
                                                                                               B6B (Official Form09-33843-MBK
                                                                                                                 6B) (12/07) -- Cont.                   Doc 1    Filed 09/10/09 Entered 09/10/09 12:45:06                       Desc Main
                                                                                                                                                                Document Page 11 of 60
                                                                                               In re     DAVID BECKER & BONNIE BECKER                                                    Case No.
                                                                                                                                  Debtor                                                            (If known)

                                                                                                                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                  (Continuation Sheet)




                                                                                                                                                                                                         HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                CURRENT VALUE OF




                                                                                                                                                                                                           OR COMMUNITY
                                                                                                                                                                                                                                DEBTOR’S INTEREST
                                                                                                                                                        N                                                                          IN PROPERTY,
                                                                                                           TYPE OF PROPERTY                             O              DESCRIPTION AND LOCATION                                      WITHOUT
                                                                                                                                                        N                    OF PROPERTY                                         DEDUCTING ANY
                                                                                                                                                        E                                                                        SECURED CLAIM
                                                                                                                                                                                                                                  OR EXEMPTION


                                                                                                 10. Annuities. Itemize and name each issuer.           X
                                                                                                 11. Interests in an education IRA as defined in 26     X
                                                                                                 U.S.C. § 530(b)(1) or under a qualified State
                                                                                                 tuition plan as defined in 26 U.S.C. § 529(b)(1).
                                                                                                 Give particulars. (File separately the record(s) of
                                                                                                 any such interest(s). 11 U.S.C. § 521(c).)

                                                                                                 12. Interests in IRA, ERISA, Keogh, or other               401K PENSION                                     H                        12,527.00
                                                                                                 pension or profit sharing plans. Give particulars.
                                                                                                                                                            IRA                                              W                        17,633.00
                                                                                                 13. Stock and interests in incorporated and            X
                                                                                                 unincorporated businesses. Itemize.

                                                                                                 14. Interests in partnerships or joint ventures.       X
                                                                                                 Itemize.
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                                                                                                 15. Government and corporate bonds and other           X
                                                                                                 negotiable and non-negotiable instruments.

                                                                                                 16. Accounts receivable.                               X
                                                                                                 17. Alimony, maintenance, support, and property        X
                                                                                                 settlement to which the debtor is or may be
                                                                                                 entitled. Give particulars.

                                                                                                 18. Other liquidated debts owing debtor including      X
                                                                                                 tax refunds. Give particulars.

                                                                                                 19. Equitable or future interests, life estates, and   X
                                                                                                 rights or powers exercisable for the benefit of the
                                                                                                 debtor other than those listed in Schedule A -
                                                                                                 Real Property.

                                                                                                 20. Contingent and noncontingent interests in          X
                                                                                                 estate or a decedent, death benefit plan, life
                                                                                                 insurance policy, or trust.

                                                                                                 21. Other contingent and unliquidated claims of        X
                                                                                                 every nature, including tax refunds, counterclaims
                                                                                                 of the debtor, and rights of setoff claims. Give
                                                                                                 estimated value of each.

                                                                                                 22. Patents, copyrights, and other intellectual        X
                                                                                                 property. Give particulars.

                                                                                                 23. Licenses, franchises, and other general            X
                                                                                                 intangibles. Give particulars.

                                                                                                 24. Customer lists or other compilations               X
                                                                                                 containing personally identifiable information (as
                                                                                                 defined in 11 U.S.C. §101(41A)) provided to the
                                                                                                 debtor by individuals in connection with obtaining
                                                                                                 a product or service from the debtor primarily for
                                                                                                 personal, family, or household purposes.
                                                                                                        Case
                                                                                               B6B (Official    09-33843-MBK
                                                                                                             Form 6B) (12/07) -- Cont.              Doc 1    Filed 09/10/09 Entered 09/10/09 12:45:06                                             Desc Main
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                                                                                               In re     DAVID BECKER & BONNIE BECKER                                                   Case No.
                                                                                                                                 Debtor                                                                          (If known)

                                                                                                                                                SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                               (Continuation Sheet)




                                                                                                                                                                                                                           HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                  CURRENT VALUE OF




                                                                                                                                                                                                                             OR COMMUNITY
                                                                                                                                                                                                                                                  DEBTOR’S INTEREST
                                                                                                                                                    N                                                                                                IN PROPERTY,
                                                                                                           TYPE OF PROPERTY                         O               DESCRIPTION AND LOCATION                                                           WITHOUT
                                                                                                                                                    N                     OF PROPERTY                                                              DEDUCTING ANY
                                                                                                                                                    E                                                                                              SECURED CLAIM
                                                                                                                                                                                                                                                    OR EXEMPTION


                                                                                                 25. Automobiles, trucks, trailers, and other           2009 HONDA ACCORD                                                      J                        20,100.00
                                                                                                 vehicles and accessories.
                                                                                                                                                        residence

                                                                                                                                                        1996 Jeep                                                              J                         1,500.00
                                                                                                                                                        residence

                                                                                                 26. Boats, motors, and accessories.                X
                                                                                                 27. Aircraft and accessories.                      X
                                                                                                 28. Office equipment, furnishings, and supplies.   X
                                                                                                 29. Machinery, fixtures, equipment, and supplies   X
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                                                                                                 used in business.

                                                                                                 30. Inventory.                                     X
                                                                                                 31. Animals.                                       X
                                                                                                 32. Crops - growing or harvested. Give             X
                                                                                                 particulars.

                                                                                                 33. Farming equipment and implements.              X
                                                                                                 34. Farm supplies, chemicals, and feed.            X
                                                                                                 35. Other personal property of any kind not        X
                                                                                                 already listed. Itemize.




                                                                                                                                                                        0                                                                         $
                                                                                                                                                                               continuation sheets attached        Total                                62,653.94
                                                                                                                                                                               (Include amounts from any continuation
                                                                                                                                                                                 sheets attached. Report total also on
                                                                                                                                                                                       Summary of Schedules.)
                                                                                                           Case 09-33843-MBK                Doc 1      Filed 09/10/09 Entered 09/10/09 12:45:06                         Desc Main
                                                                                                 B6C (Official Form 6C) (12/07)
                                                                                                                                                      Document Page 13 of 60
                                                                                               In re    DAVID BECKER & BONNIE BECKER                                                 Case No.
                                                                                                                         Debtor                                                                            (If known)

                                                                                                                        SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                                 Debtor claims the exemptions to which debtor is entitled under:
                                                                                                 (Check one box)

                                                                                                       11 U.S.C. § 522(b)(2)                                         Check if debtor claims a homestead exemption that exceeds
                                                                                                                                                                     $136,875.
                                                                                                       11 U.S.C. § 522(b)(3)



                                                                                                                                                                                                                      CURRENT
                                                                                                                                                              SPECIFY LAW                     VALUE OF           VALUE OF PROPERTY
                                                                                                           DESCRIPTION OF PROPERTY                          PROVIDING EACH                    CLAIMED            WITHOUT DEDUCTING
                                                                                                                                                               EXEMPTION                     EXEMPTION               EXEMPTION


                                                                                                  2009 HONDA ACCORD                               (Husb)11 U.S.C. 522(d)(2)                             0.00                 20,100.00

                                                                                                  CASH                                            (Husb)11 U.S.C. 522(d)(5)                           100.00                      100.00

                                                                                                  CHECKING ACCOUNT                                (Husb)11 U.S.C. 522(d)(5)                         2,400.00                     2,400.00

                                                                                                  HOUSEHOLD GOODS                                 (Husb)11 U.S.C. 522(d)(3)                         2,000.00                     2,000.00

                                                                                                  BOOKS                                           (Wife)11 U.S.C. 522(d)(6)                         1,000.00                     1,000.00
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                                                                                                  WEARING APPAREL                                 (Husb)11 U.S.C. 522(d)(3)                           500.00                      500.00

                                                                                                  401K PENSION                                    (Husb)11 U.S.C. 522(d)(10)(E)                    12,527.00                 12,527.00

                                                                                                  IRA                                             (Wife)11 U.S.C. 522(d)(10)(E)                    17,633.00                 17,633.00

                                                                                                  Brokerage Account                               (Wife)11 U.S.C. 522(d)(5)                         4,717.83                     4,717.83

                                                                                                  Savings Account                                 (Wife)11 U.S.C. 522(d)(5)                            26.11                       26.11

                                                                                                  canon powershot sd850 is (camera)               (Wife)11 U.S.C. 522(d)(5)                           150.00                      150.00

                                                                                                  1996 Jeep                                       (Wife)11 U.S.C. 522(d)(2)                         1,500.00                     1,500.00
                                                                                                       Case 09-33843-MBK                   Doc 1                                 Filed 09/10/09 Entered 09/10/09 12:45:06                                             Desc Main
                                                                                                                                                                                Document Page 14 of 60
                                                                                               B6D (Official Form 6D) (12/07)

                                                                                                        DAVID BECKER & BONNIE BECKER
                                                                                               In re _______________________________________________,                                                               Case No. _________________________________
                                                                                                                             Debtor                                                                                                                                (If known)

                                                                                                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                         State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
                                                                                               by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                               useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
                                                                                               such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
                                                                                                          List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
                                                                                               address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C
                                                                                               §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
                                                                                                         If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,"
                                                                                               include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
                                                                                               husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled
                                                                                               "Husband, Wife, Joint, or Community."
                                                                                                         If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
                                                                                               labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
                                                                                               one of these three columns.)
                                                                                                         Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
                                                                                               labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting
                                                                                               Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from
                                                                                               the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.


                                                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                                                                                                                                                                                                                                                              AMOUNT
                                                                                                                                                         HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                  UNLIQUIDATED
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                                                                                                                                                                                                                     CONTINGENT
                                                                                                                                                                                   DATE CLAIM WAS INCURRED,                                                      OF
                                                                                                                                              CODEBTOR




                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                                                            ORCOMMUNITY




                                                                                                          CREDITOR’S NAME,
                                                                                                           MAILING ADDRESS                                                            NATURE OF LIEN, AND                                                      CLAIM            UNSECURED
                                                                                                         INCLUDING ZIP CODE,                                                           DESCRIPTION AND                                                        WITHOUT            PORTION,
                                                                                                        AND ACCOUNT NUMBER                                                            VALUE OF PROPERTY                                                      DEDUCTING            IF ANY
                                                                                                          (See Instructions Above.)                                                     SUBJECT TO LIEN                                                       VALUE OF
                                                                                                                                                                                                                                                            COLLATERAL


                                                                                               ACCOUNT NO. 12014                                                                Incurred: 5/09                                                                                    4,974.00
                                                                                               AMERICAN HONDA FINANCE                                                           Lien: PMSI in vehicle < 910 days
                                                                                               200 CONTINENTAL DR, STE 301                                                      Security: 2009 HONDA ACCORD
                                                                                                                                                         J                                                                                                     25,074.00
                                                                                               NEWARK, DE 19713

                                                                                                                                                                                 VALUE $                20,100.00
                                                                                               ACCOUNT NO. 865579                                                               Incurred: 11/05
                                                                                               GMAC MORTGAGE                                                                    Lien: Second Mortgage
                                                                                               PO BOX 4622                                                                      Security: RESIDENCE
                                                                                                                                                         J                                                                                                     12,786.00              0.00
                                                                                               WATERLOO IA 50704

                                                                                                                                                                                 VALUE $               109,000.00
                                                                                               ACCOUNT NO. 7080055095                                                           Incurred: 3/05                                                                                   87,689.00
                                                                                               WELLS FARGO BANK NV NA                                                           Lien: First Mortgage
                                                                                               PO BOX 13557                                                                     Security: RESIDENCE
                                                                                                                                                         J                                                                                                    196,689.00
                                                                                               BILLINGS, MT 59107


                                                                                                                                                                                 VALUE $               109,000.00

                                                                                                  0
                                                                                                _______continuation sheets attached                                                                                 Subtotal     $ 234,549.00                              $     92,663.00
                                                                                                                                                                                                            (Total of this page)
                                                                                                                                                                                                                        Total    $ 234,549.00                              $     92,663.00
                                                                                                                                                                                                         (Use only on last page)
                                                                                                                                                                                                                                                  (Report also on       (If applicable, report
                                                                                                                                                                                                                                                  Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                        Summary of Certain
                                                                                                                                                                                                                                                                        Liabilities and Related
                                                                                                                                                                                                                                                                        Data.)
                                                                                                       Case 09-33843-MBK                    Doc 1        Filed 09/10/09 Entered 09/10/09 12:45:06                                Desc Main
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                                                                                               B6E (Official Form 6E) (12/07)


                                                                                                          DAVID BECKER & BONNIE BECKER
                                                                                                  In re________________________________________________________________,                         Case No.______________________________
                                                                                                                          Debtor                                                                               (if known)

                                                                                                       SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                        A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
                                                                                                 unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
                                                                                                 address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
                                                                                                 property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
                                                                                                 the type of priority.

                                                                                                        The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                                                 the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                 "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.R.Bankr.P. 1007(m).

                                                                                                         If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
                                                                                                 entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife,
                                                                                                 both of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife,
                                                                                                 Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X"
                                                                                                 in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
                                                                                                 more than one of these three columns.)

                                                                                                       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
                                                                                                 Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                                                           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
                                                                                                 amounts entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
                                                                                                 primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.
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                                                                                                          Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
                                                                                                 amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
                                                                                                 with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related
                                                                                                 Data.



                                                                                                     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                                                TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)


                                                                                                      Domestic Support Obligations

                                                                                                      Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
                                                                                               or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
                                                                                               11 U.S.C. § 507(a)(1).


                                                                                                      Extensions of credit in an involuntary case

                                                                                                     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                                               appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                                                      Wages, salaries, and commissions

                                                                                                        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                                                independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                                                cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                                                      Contributions to employee benefit plans

                                                                                                           Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                                                   cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
                                                                                                        Case 09-33843-MBK                   Doc 1       Filed 09/10/09 Entered 09/10/09 12:45:06                              Desc Main
                                                                                                                                                       Document Page 16 of 60
                                                                                               B6E (Official Form 6E) (12/07) - Cont.


                                                                                                            DAVID BECKER & BONNIE BECKER
                                                                                                     In re________________________________________________________________,                      Case No.______________________________
                                                                                                                             Debtor                                                                            (if known)




                                                                                                      Certain farmers and fishermen
                                                                                                    Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


                                                                                                      Deposits by individuals
                                                                                                    Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
                                                                                                that were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                                                      Taxes and Certain Other Debts Owed to Governmental Units

                                                                                                    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).



                                                                                                      Commitments to Maintain the Capital of an Insured Depository Institution
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                                                                                                   Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
                                                                                                Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
                                                                                                U.S.C. § 507 (a)(9).



                                                                                                      Claims for Death or Personal Injury While Debtor Was Intoxicated

                                                                                                     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
                                                                                               alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
                                                                                               alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).




                                                                                                 * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of
                                                                                                 adjustment.




                                                                                                                                                          1
                                                                                                                                                         ____ continuation sheets attached
                                                                                                       Case 09-33843-MBK                      Doc 1                                 Filed 09/10/09 Entered 09/10/09 12:45:06                                                         Desc Main
                                                                                                                                                                                   Document Page 17 of 60
                                                                                               B6E (Official Form 6E) (12/07) - Cont.


                                                                                                         DAVID BECKER & BONNIE BECKER
                                                                                                 In re __________________________________________________,                                                                                           Case No. _________________________________
                                                                                                                                   Debtor                                                                                                                                      (If known)

                                                                                                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                                                                                         (Continuation Sheet)                                             Sec. 507(a)(8)

                                                                                                                                                                                                                                                 Type of Priority for Claims Listed on This Sheet




                                                                                                                                                            HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                           UNLIQUIDATED
                                                                                                                                                               ORCOMMUNITY




                                                                                                                                                                                                              CONTINGENT
                                                                                                                                                                                                                                                                                             AMOUNT

                                                                                                                                                 CODEBTOR
                                                                                                           CREDITOR’S NAME,                                                         DATE CLAIM WAS




                                                                                                                                                                                                                                          DISPUTED
                                                                                                           MAILING ADDRESS                                                           INCURRED AND                                                          AMOUNT            AMOUNT             NOT
                                                                                                         INCLUDING ZIP CODE,                                                        CONSIDERATION                                                            OF            ENTITLED TO       ENTITLED
                                                                                                        AND ACCOUNT NUMBER                                                             FOR CLAIM                                                            CLAIM           PRIORITY             TO
                                                                                                          (See instructions above..)                                                                                                                                                        PRIORITY, IF
                                                                                                                                                                                                                                                                                                ANY

                                                                                               ACCOUNT NO.
                                                                                                                 143 So. Main St.                                                  Incurred: 7/30/09
                                                                                               Borough of Milltown                                                                 Electric & sewer bill
                                                                                               39 Washington Avenue                                                                to MUA
                                                                                                                                                              J                                                                                              2,687.70          1,943.70           744.00
                                                                                               Milltown NJ 08850



                                                                                               ACCOUNT NO.
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                                                                                               ACCOUNT NO.




                                                                                               ACCOUNT NO.




                                                                                                         1      1                                                                                        Subtotal                                    $       2,687.70      $                $
                                                                                               Sheet no. ___ of ___continuation sheets attached to Schedule of                                  (Totals of this page)
                                                                                               Creditors Holding Priority Claims
                                                                                                                                                                                                           Total                                     $       2,687.70
                                                                                                                                                             (Use only on last page of the completed
                                                                                                                                                             Schedule E.) Report also on the Summary
                                                                                                                                                             of Schedules)

                                                                                                                                                                                                           Totals                                     $                    $   1,943.70      $    744.00
                                                                                                                                                             (Use only on last page of the completed
                                                                                                                                                             Schedule E. If applicable, report also on
                                                                                                                                                             the Statistical Summary of Certain
                                                                                                                                                             Liabilities and Related Data.)
                                                                                                         Case 09-33843-MBK                       Doc 1                                 Filed 09/10/09 Entered 09/10/09 12:45:06                                                   Desc Main
                                                                                                                                                                                      Document Page 18 of 60
                                                                                               B6F (Official Form 6F) (12/07)

                                                                                                        DAVID BECKER & BONNIE BECKER
                                                                                                In re __________________________________________,                                                                       Case No. _________________________________
                                                                                                                               Debtor                                                                                                                              (If known)

                                                                                                     SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                            State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
                                                                                                against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address
                                                                                                of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P.
                                                                                                1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
                                                                                                           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
                                                                                                appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
                                                                                                community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

                                                                                                          If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
                                                                                                "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

                                                                                                          Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
                                                                                                Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and
                                                                                                Related Data.
                                                                                                         Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                                                                                                               HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                    UNLIQUIDATED
                                                                                                                                                                 ORCOMMUNITY




                                                                                                                                                                                                                                       CONTINGENT
                                                                                                                                                    CODEBTOR




                                                                                                                                                                                           DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                   DISPUTED
                                                                                                           CREDITOR’S NAME,                                                                                                                                                        AMOUNT
                                                                                                            MAILING ADDRESS                                                                  CONSIDERATION FOR CLAIM.
                                                                                                                                                                                           IF CLAIM IS SUBJECT TO SETOFF,                                                            OF
                                                                                                          INCLUDING ZIP CODE,                                                                                                                                                       CLAIM
                                                                                                         AND ACCOUNT NUMBER                                                                           SO STATE.
                                                                                                           (See instructions above.)
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                                                                                               ACCOUNT NO.         62008                                                              Incurred: revolving
                                                                                               American Express                                                                       Consideration: Credit card debt
                                                                                               PO Box 981537                                                   H                                                                                                                        4,976.00
                                                                                               El Paso TX 79998



                                                                                               ACCOUNT NO.         9375                                                               Incurred: 3/07
                                                                                               AMERICAN HONDA FINANCE
                                                                                               PO BOX 6070                                                     J                                                                                                                        1,241.00
                                                                                               CYPRESS CA 90630



                                                                                               ACCOUNT NO.         515665000065                                                       Incurred: 2/07
                                                                                               BARCLAYS BANK                                                                          Consideration: Revolving charge account
                                                                                               125 S WEST ST                                                   H                                                                                                                        2,472.00
                                                                                               WILMIGTON DE 19801



                                                                                               ACCOUNT NO.         517805726                                                          Incurred: 11/07
                                                                                               CAPITAL ONE                                                                            Consideration: Revolving charge account
                                                                                               PO BOX 30281                                                    W                                                                                                                        3,311.00
                                                                                               SALT LAKE CITY UT 84130




                                                                                                     7
                                                                                                   _______continuation sheets attached                                                                                               Subtotal                                 $        12,000.00
                                                                                                                                                                                                                   Total                                                      $
                                                                                                                                                                    (Use only on last page of the completed Schedule F.)
                                                                                                                                                (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                      Summary of Certain Liabilities and Related Data.)
                                                                                                       Case 09-33843-MBK                    Doc 1                                 Filed 09/10/09 Entered 09/10/09 12:45:06                                                       Desc Main
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                                                                                               B6F (Official Form 6F) (12/07) - Cont.


                                                                                                         DAVID BECKER & BONNIE BECKER
                                                                                                 In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                  Debtor                                                                                                                             (If known)


                                                                                                    SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                             ORCOMMUNITY




                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                               CODEBTOR
                                                                                                          CREDITOR’S NAME,
                                                                                                                                                                                           DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                                           MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                             CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                                           IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                        AND ACCOUNT NUMBER
                                                                                                          (See instructions above.)


                                                                                               ACCOUNT NO.      418587279751                                                      Incurred: 8/07
                                                                                               CHASE                                                                              Consideration: Revolving charge account
                                                                                               800 BROOKSEDGE BLVD                                          H                                                                                                                         12,054.00
                                                                                               COLUMBUS OH 43081



                                                                                               ACCOUNT NO.      540168306                                                         Incurred: 11/07
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                                                                                               CHASE                                                                              Consideration: Revolving charge account
                                                                                               800 BROOKSEDGE BLVD                                          H                                                                                                                             25.00
                                                                                               COLUMBUS OH 43081



                                                                                               ACCOUNT NO.      4185872                                                           Incurred: 8/07
                                                                                               CHASE BANK USA NA                                                                  Consideration: Credit card debt
                                                                                               800 BROOKSEDGE BLV                                           W                                                                                                                         12,054.00
                                                                                               WESTERVILLE OH 43081



                                                                                               ACCOUNT NO.      4640182                                                           Incurred: 7/08
                                                                                               CHASE BANK USA NA                                                                  Consideration: Credit card debt
                                                                                               800 BROOKSEDGE BLV                                                                                                                                                                      1,203.00
                                                                                               WESTERVILLE OH 43081



                                                                                                ACCOUNT NO.     540168                                                            Incurred: 11/07
                                                                                               CHASE BANK USA NA                                                                  Consideration: Credit card debt
                                                                                               800 BROOKSEDGE BLV                                           W                                                                                                                            844.00
                                                                                               WESTERVILLE OH 43081



                                                                                                          1 of _____continuation
                                                                                               Sheet no. _____    7                sheets attached                                                                                     Subtotal                                  $    26,180.00
                                                                                               to Schedule of Creditors Holding Unsecured
                                                                                               Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                             (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                 (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                       Case 09-33843-MBK                    Doc 1                                 Filed 09/10/09 Entered 09/10/09 12:45:06                                                       Desc Main
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                                                                                                         DAVID BECKER & BONNIE BECKER
                                                                                                 In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                  Debtor                                                                                                                             (If known)


                                                                                                    SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                             ORCOMMUNITY




                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                               CODEBTOR
                                                                                                          CREDITOR’S NAME,
                                                                                                                                                                                           DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                                           MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                             CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                                           IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                        AND ACCOUNT NUMBER
                                                                                                          (See instructions above.)


                                                                                               ACCOUNT NO.      546616025                                                         Incurred: 8/08
                                                                                               CITI                                                                               Consideration: Revolving charge account
                                                                                               PO BOX 6241                                                  H                                                                                                                              0.00
                                                                                               SIOUX FALLS, SD 57117



                                                                                               ACCOUNT NO.      546616                                                            Incurred: 8/08
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                                                                                               CITI                                                                               Consideration: Revolving charge account
                                                                                               PO BOX 6241                                                  W                                                                                                                          6,933.00
                                                                                               SIOUX FALLS, SD 57117



                                                                                               ACCOUNT NO.      6011001163                                                        Incurred: 11/07
                                                                                               DISCOVER FIN SVCS LLC                                                              Consideration: Revolving charge account
                                                                                               PO BOX 15316                                                 H                                                                                                                          5,982.00
                                                                                               WILMINGTON DE 19850



                                                                                               ACCOUNT NO.      6019183                                                           Incurred: 5/09
                                                                                               GEMB/CARE CREDIT                                                                   Consideration: Revolving charge account
                                                                                               PO BOX 981439                                                H                                                                                                                            39.00
                                                                                               EL PASO TX 79998



                                                                                                ACCOUNT NO.     798192                                                            Incurred: 2/07
                                                                                               GEMB/LOWES                                                                         Consideration: Credit card debt
                                                                                               PO BOX 981400                                                H                                                                                                                              0.00
                                                                                               EL PASO TX 79998



                                                                                                          2 of _____continuation
                                                                                               Sheet no. _____    7                sheets attached                                                                                     Subtotal                                  $    12,954.00
                                                                                               to Schedule of Creditors Holding Unsecured
                                                                                               Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                             (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                 (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                       Case 09-33843-MBK                    Doc 1                                 Filed 09/10/09 Entered 09/10/09 12:45:06                                                       Desc Main
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                                                                                               B6F (Official Form 6F) (12/07) - Cont.


                                                                                                         DAVID BECKER & BONNIE BECKER
                                                                                                 In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                  Debtor                                                                                                                             (If known)


                                                                                                    SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                             ORCOMMUNITY




                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                               CODEBTOR
                                                                                                          CREDITOR’S NAME,
                                                                                                                                                                                           DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                                           MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                             CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                                           IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                        AND ACCOUNT NUMBER
                                                                                                          (See instructions above.)


                                                                                               ACCOUNT NO.      7714120                                                           Incurred: 4/09
                                                                                               GEMB/SAMS CLUB                                                                     Consideration: Revolving charge account
                                                                                               PO BOX 981064                                                H                                                                                                                             35.00
                                                                                               EL PASO TX 79998



                                                                                               ACCOUNT NO.      771423020270                                                      Incurred: 4/09
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                                                                                               GEMB/SAMS CLUB                                                                     Consideration: Revolving charge account
                                                                                               PO BOX 981064                                                W                                                                                                                            373.00
                                                                                               EL PASO TX 79998



                                                                                               ACCOUNT NO.      4218531008                                                        Incurred: 7/08
                                                                                               GEMBPPBYOR                                                                         Consideration: Revolving charge account
                                                                                               PO BOX 981400                                                W                                                                                                                          1,369.00
                                                                                               EL PASO TX 79998



                                                                                               ACCOUNT NO.      6035320091                                                        Incurred: 2/02
                                                                                               HOME DEPOT/CBSD                                                                    Consideration: Revolving charge account
                                                                                               PO BOX6497                                                   H                                                                                                                          4,644.00
                                                                                               SIOUX FALLS SD 57117



                                                                                                ACCOUNT NO.     60353202                                                          Incurred: 12/05
                                                                                               HOME DEPOT/CBSD                                                                    Consideration: Revolving charge account
                                                                                               PO BOX6497                                                   W                                                                                                                          1,691.00
                                                                                               SIOUX FALLS SD 57117



                                                                                                          3 of _____continuation
                                                                                               Sheet no. _____    7                sheets attached                                                                                     Subtotal                                  $     8,112.00
                                                                                               to Schedule of Creditors Holding Unsecured
                                                                                               Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                             (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                 (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                       Case 09-33843-MBK                    Doc 1                                 Filed 09/10/09 Entered 09/10/09 12:45:06                                                       Desc Main
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                                                                                                         DAVID BECKER & BONNIE BECKER
                                                                                                 In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                  Debtor                                                                                                                             (If known)


                                                                                                    SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                             ORCOMMUNITY




                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                               CODEBTOR
                                                                                                          CREDITOR’S NAME,
                                                                                                                                                                                           DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                                           MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                             CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                                           IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                        AND ACCOUNT NUMBER
                                                                                                          (See instructions above.)


                                                                                               ACCOUNT NO.      04722702                                                          Incurred: 12/07
                                                                                               KOHLS/CHASE                                                                        Consideration: Credit card debt
                                                                                               N 56 W17000 RIDGEWOOD DR                                     W                                                                                                                          1,099.00
                                                                                               MENOMONEE FLS WI 53051



                                                                                               ACCOUNT NO.      69780000150                                                       Incurred: 7/06
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                                                                                               LANE BRYANT                                                                        Consideration: Revolving charge account
                                                                                               450 WINKS LN                                                 W                                                                                                                            972.00
                                                                                               BENSALEM PA 19020



                                                                                               ACCOUNT NO.      16150                                                             Incurred: 7/06
                                                                                               LANE BRYANT                                                                        Consideration: Revolving charge account
                                                                                               450 WINKS LN                                                 W                                                                                                                              0.00
                                                                                               BENSALEM PA 19020



                                                                                               ACCOUNT NO.      F39486                                                            Consideration: Credit card debt
                                                                                               Northland Group
                                                                                               PO Box 390905                                                                                                                                                                           1,739.00
                                                                                               Minneapolis MN 55439



                                                                                                ACCOUNT NO.                                                                       Incurred: 8/18/08
                                                                                               Penn Credit Corporation                                                            Consideration: Medical Services
                                                                                               PO Box 988                                                   W                                                                                                                             85.00
                                                                                               Harrisburg PA 17108



                                                                                                          4 of _____continuation
                                                                                               Sheet no. _____    7                sheets attached                                                                                     Subtotal                                  $     3,895.00
                                                                                               to Schedule of Creditors Holding Unsecured
                                                                                               Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                             (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                 (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                       Case 09-33843-MBK                    Doc 1                                 Filed 09/10/09 Entered 09/10/09 12:45:06                                                       Desc Main
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                                                                                                         DAVID BECKER & BONNIE BECKER
                                                                                                 In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                  Debtor                                                                                                                             (If known)


                                                                                                    SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                             ORCOMMUNITY




                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                               CODEBTOR
                                                                                                          CREDITOR’S NAME,
                                                                                                                                                                                           DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                                           MAILING ADDRESS                                                                                                                                                            AMOUNT
                                                                                                                                                                                             CONSIDERATION FOR CLAIM.                                                                   OF
                                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                                           IF CLAIM IS SUBJECT TO SETOFF,                                                              CLAIM
                                                                                                        AND ACCOUNT NUMBER
                                                                                                          (See instructions above.)


                                                                                               ACCOUNT NO.      SPHC88G0102633
                                                                                               Portfolio Recovery Associates LLC
                                                                                               Dept 922                                                                                                                                                                              Unknown
                                                                                               PO Box 4115
                                                                                               Concord CA 94524


                                                                                               ACCOUNT NO.                                                                        Consideration: Medical Services
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                                                                                               Robert Berkowitz, DC
                                                                                               34 Woodbridge Ave.                                                                                                                                                                        8,380.00
                                                                                               Highland PArk NJ 08904



                                                                                               ACCOUNT NO.      9 200383220                                                       Incurred: 8/18/08
                                                                                               Robert Wood Johnson University                                                     Consideration: Medical Services
                                                                                               Hospital                                                                                                                                                                                    189.00
                                                                                               1 Robert Wood Johnson Place
                                                                                               New Brunswick, NJ 08903


                                                                                               ACCOUNT NO.      10287664                                                          Incurred: unknown
                                                                                               St. Peter's University Hospital                                                    Consideration: Medical Services
                                                                                               254 Easton Ave.                                                                                                                                                                             777.00
                                                                                               New Brunswick, NJ 08901



                                                                                                ACCOUNT NO.     F0650667                                                          Incurred: 8/06
                                                                                               STATE OF NJ HIGHED AS                                                              Consideration: STUDENT LOAN
                                                                                               PO BOX 548                                                   W                                                                                                                            9,835.00
                                                                                               TRENTON NJ 08625



                                                                                                          5 of _____continuation
                                                                                               Sheet no. _____    7                sheets attached                                                                                     Subtotal                                  $      19,181.00
                                                                                               to Schedule of Creditors Holding Unsecured
                                                                                               Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                             (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                 (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                       Case 09-33843-MBK                    Doc 1                                 Filed 09/10/09 Entered 09/10/09 12:45:06                                                       Desc Main
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                                                                                                         DAVID BECKER & BONNIE BECKER
                                                                                                 In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                  Debtor                                                                                                                             (If known)


                                                                                                    SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                             ORCOMMUNITY




                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                               CODEBTOR
                                                                                                          CREDITOR’S NAME,
                                                                                                                                                                                           DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                                           MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                             CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                                           IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                        AND ACCOUNT NUMBER
                                                                                                          (See instructions above.)


                                                                                               ACCOUNT NO.      F0658667                                                          Incurred: 12/06
                                                                                               STATE OF NJ HIGHED AS                                                              Consideration: STUDENT LOAN
                                                                                               PO BOX 548                                                   W                                                                                                                          3,315.00
                                                                                               TRENTON NJ 08625



                                                                                               ACCOUNT NO.      F0700015                                                          Incurred: 9/07
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                                                                                               STATE OF NJ HIGHED AS                                                              Consideration: STUDENT LOAN
                                                                                               PO BOX 548                                                   W                                                                                                                         12,660.00
                                                                                               TRENTON NJ 08625



                                                                                               ACCOUNT NO.      43523775                                                          Incurred: 7/08
                                                                                               TARGET NB                                                                          Consideration: Revolving charge account
                                                                                               PO BOX 673                                                   W                                                                                                                            484.00
                                                                                               MINNEAPOLIS MN 55440



                                                                                               ACCOUNT NO.      46922785                                                          Incurred: 11/07
                                                                                               US BANK                                                                            Consideration: STUDENT LOAN
                                                                                               POB 108                                                      W                                                                                                                          2,273.00
                                                                                               SAINT LOUIS, MO 63166



                                                                                                ACCOUNT NO.     135589                                                            Incurred: 7/04
                                                                                               US DEP ED                                                                          Consideration: STUDENT LOAN
                                                                                               150 BLEEKER ST                                               W                                                                                                                         52,158.00
                                                                                               UTICA NY 13501



                                                                                                          6 of _____continuation
                                                                                               Sheet no. _____    7                sheets attached                                                                                     Subtotal                                  $    70,890.00
                                                                                               to Schedule of Creditors Holding Unsecured
                                                                                               Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                             (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                 (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                       Case 09-33843-MBK                    Doc 1                                 Filed 09/10/09 Entered 09/10/09 12:45:06                                                       Desc Main
                                                                                                                                                                                 Document Page 25 of 60
                                                                                               B6F (Official Form 6F) (12/07) - Cont.


                                                                                                         DAVID BECKER & BONNIE BECKER
                                                                                                 In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                  Debtor                                                                                                                             (If known)


                                                                                                    SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                             ORCOMMUNITY




                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                               CODEBTOR
                                                                                                          CREDITOR’S NAME,
                                                                                                                                                                                           DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                                           MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                             CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                                           IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                        AND ACCOUNT NUMBER
                                                                                                          (See instructions above.)


                                                                                               ACCOUNT NO.      135589                                                            Incurred: 8/06
                                                                                               US DEP ED                                                                          Consideration: STUDENT LOAN
                                                                                               150 BLEEKER ST                                               W                                                                                                                          41,211.00
                                                                                               UTICA NY 13501



                                                                                               ACCOUNT NO.
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                                                                                               ACCOUNT NO.




                                                                                               ACCOUNT NO.




                                                                                                ACCOUNT NO.




                                                                                                          7 of _____continuation
                                                                                               Sheet no. _____    7                sheets attached                                                                                     Subtotal                                  $     41,211.00
                                                                                               to Schedule of Creditors Holding Unsecured
                                                                                               Nonpriority Claims                                                                                                                          Total                                 $    194,423.00
                                                                                                                                                                                             (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                 (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                    Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                          Case 09-33843-MBK                  Doc 1       Filed 09/10/09 Entered 09/10/09 12:45:06                               Desc Main
                                                                                               B6G (Official Form 6G) (12/07)
                                                                                                                                                        Document Page 26 of 60

                                                                                                       DAVID BECKER & BONNIE BECKER                                               Case No.
                                                                                               In re
                                                                                                                         Debtor                                                                               (if known)

                                                                                                       SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                                           Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
                                                                                                 State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the
                                                                                                 names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or
                                                                                                 contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
                                                                                                 guardian." Do not disclose the child’s name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

                                                                                                       Check this box if debtor has no executory contracts or unexpired leases.


                                                                                                                                                                                  DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                                                                       NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
                                                                                                          OF OTHER PARTIES TO LEASE OR CONTRACT.                                   NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                                                                                                       NUMBER OF ANY GOVERNMENT CONTRACT.

                                                                                                AT&T                                                                          cell phone contract
                                                                                                PO Box 537104
                                                                                                Atlanta GA 30353-7104
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                                                                                                       Case 09-33843-MBK                   Doc 1       Filed 09/10/09 Entered 09/10/09 12:45:06                               Desc Main
                                                                                               B6H (Official Form 6H) (12/07)                         Document Page 27 of 60



                                                                                               In re   DAVID BECKER & BONNIE BECKER                                              Case No.
                                                                                                                        Debtor                                                                              (if known)


                                                                                                                                           SCHEDULE H - CODEBTORS
                                                                                                   Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any
                                                                                               debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community
                                                                                               property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
                                                                                               Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the
                                                                                               name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state,
                                                                                               commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the
                                                                                               commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the child's
                                                                                               parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and
                                                                                               Fed. Bankr. P. 1007(m).
                                                                                                   Check this box if debtor has no codebtors.



                                                                                                             NAME AND ADDRESS OF CODEBTOR                                                   NAME AND ADDRESS OF CREDITOR
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                                                                                                            Case 09-33843-MBK             Doc 1       Filed 09/10/09 Entered 09/10/09 12:45:06                             Desc Main
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                                                                                               B6I (Official Form 6I) (12/07)


                                                                                                            DAVID BECKER & BONNIE BECKER
                                                                                               In re                                                                                       Case
                                                                                                                      Debtor                                                                                  (if known)
                                                                                                                      SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                                               The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
                                                                                               filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
                                                                                               calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.

                                                                                                Debtor’s Marital                                                   DEPENDENTS OF DEBTOR AND SPOUSE
                                                                                                Status:   Married               RELATIONSHIP(S): No dependents                                                    AGE(S):
                                                                                                Employment:                             DEBTOR                                                                 SPOUSE
                                                                                                Occupation                        COGNITIVE REHABILITATION THERAPIST FLOOR ASSOCIATE
                                                                                                Name of Employer                  SHORE PSYCHOLOGICAL HEALTH CARE LLCHOME DEPOT/CBSD
                                                                                                How long employed                 1 MONTH                            5 YEARS
                                                                                                Address of Employer               35 BEAVERSON BLVD STE 6A                               PO BOX6497
                                                                                                                                  BRICK NJ 08723                                         SIOUX FALLS SD 57117

                                                                                               INCOME: (Estimate of average or projected monthly income at time case filed)                                  DEBTOR                  SPOUSE
                                                                                               1. Monthly gross wages, salary, and commissions
                                                                                                                                                                                                               1,300.00
                                                                                                                                                                                                          $ _____________             2,662.63
                                                                                                                                                                                                                                 $ _____________
                                                                                                     (Prorate if not paid monthly.)
                                                                                               2. Estimated monthly overtime                                                                                       0.00
                                                                                                                                                                                                          $ _____________                 0.00
                                                                                                                                                                                                                                 $ _____________

                                                                                               3. SUBTOTAL                                                                                                      1,300.00
                                                                                                                                                                                                           $ _____________             2,662.63
                                                                                                                                                                                                                                  $ _____________
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                                                                                               4. LESS PAYROLL DEDUCTIONS
                                                                                                                                                                                                                  130.80
                                                                                                                                                                                                           $ _____________              302.51
                                                                                                                                                                                                                                  $ _____________
                                                                                                       a.   Payroll taxes and social security
                                                                                                                                                                                                                    0.00
                                                                                                                                                                                                           $ _____________                 0.00
                                                                                                                                                                                                                                  $ _____________
                                                                                                       b.   Insurance
                                                                                                       c.   Union Dues                                                                                              0.00
                                                                                                                                                                                                           $ _____________                 0.00
                                                                                                                                                                                                                                  $ _____________
                                                                                                       d.                      (S)MEDICAL, 401K, DENTAL, VISION
                                                                                                            Other (Specify:___________________________________________________________)                             0.00
                                                                                                                                                                                                           $ _____________              170.40
                                                                                                                                                                                                                                  $ _____________

                                                                                               5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                 130.80
                                                                                                                                                                                                           $ _____________              472.91
                                                                                                                                                                                                                                  $ _____________

                                                                                               6.. TOTAL NET MONTHLY TAKE HOME PAY                                                                              1,169.20
                                                                                                                                                                                                           $ _____________            2,189.72
                                                                                                                                                                                                                                  $ _____________

                                                                                               7. Regular income from operation of business or profession or farm                                                   0.00
                                                                                                                                                                                                           $ _____________                 0.00
                                                                                                                                                                                                                                  $ _____________
                                                                                                  (Attach detailed statement)
                                                                                               8. Income from real property                                                                                         0.00
                                                                                                                                                                                                           $ _____________                 0.00
                                                                                                                                                                                                                                  $ _____________
                                                                                               9. Interest and dividends                                                                                            0.00
                                                                                                                                                                                                           $ _____________                 0.00
                                                                                                                                                                                                                                  $ _____________
                                                                                               10. Alimony, maintenance or support payments payable to the debtor for the
                                                                                                                                                                                                                    0.00
                                                                                                                                                                                                           $ _____________                 0.00
                                                                                                                                                                                                                                  $ _____________
                                                                                                  debtor’s use or that of dependents listed above.
                                                                                               11. Social security or other government assistance
                                                                                                                                                                                                                    0.00
                                                                                                                                                                                                           $ _____________                0.00
                                                                                                                                                                                                                                  $ _____________
                                                                                                  ( Specify)
                                                                                               12. Pension or retirement income                                                                                     0.00
                                                                                                                                                                                                           $ _____________                 0.00
                                                                                                                                                                                                                                  $ _____________
                                                                                               13. Other monthly income                                                                                             0.00
                                                                                                                                                                                                           $ _____________                 0.00
                                                                                                                                                                                                                                  $ _____________
                                                                                                   (Specify)                                                                                                        0.00
                                                                                                                                                                                                           $ _____________                 0.00
                                                                                                                                                                                                                                  $ _____________
                                                                                               14. SUBTOTAL OF LINES 7 THROUGH 13                                                                          $ _____________
                                                                                                                                                                                                                    0.00          $ _____________
                                                                                                                                                                                                                                          0.00
                                                                                               15. AVERAGE MONTHLY INCOME (Add amounts shown on Lines 6 and 14)                                                 1,169.20
                                                                                                                                                                                                           $ _____________            2,189.72
                                                                                                                                                                                                                                  $ _____________

                                                                                               16. COMBINED AVERAGE MONTHLY INCOME (Combine column totals                                                              $ _____________
                                                                                                                                                                                                                             3,358.92
                                                                                                   from line 15)
                                                                                                                                                                                      (Report also on Summary of Schedules and, if applicable,
                                                                                                                                                                                      on Statistical Summary of Certain Liabilities and Related Data)

                                                                                               17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                                                                                        None
                                                                                                        CaseForm
                                                                                                  B6J (Official 09-33843-MBK
                                                                                                                  6J) (12/07)                Doc 1       Filed 09/10/09 Entered 09/10/09 12:45:06                             Desc Main
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                                                                                                In re DAVID BECKER & BONNIE BECKER                                                        Case No.
                                                                                                                Debtor                                                                                      (if known)

                                                                                                         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                                            Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case
                                                                                                 filed. Prorate any payments made biweekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses
                                                                                                 calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

                                                                                                       Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of expenditures
                                                                                                       labeled “Spouse.”


                                                                                               1. Rent or home mortgage payment (include lot rented for mobile home)                                                                $ _____________
                                                                                                                                                                                                                                           1,549.00
                                                                                                          a. Are real estate taxes included?                 Yes ________ No ________
                                                                                                          b. Is property insurance included?                 Yes ________ No ________
                                                                                               2. Utilities: a. Electricity and heating fuel                                                                                        $ ______________
                                                                                                                                                                                                                                             340.00
                                                                                                              b. Water and sewer                                                                                                    $ ______________
                                                                                                                                                                                                                                              30.00
                                                                                                              c. Telephone                                                                                                          $ ______________
                                                                                                                                                                                                                                             160.00
                                                                                                                        CABLE
                                                                                                              d. Other ___________________________________________________________________                                          $ ______________
                                                                                                                                                                                                                                             133.00
                                                                                               3. Home maintenance (repairs and upkeep)                                                                                             $ ______________
                                                                                                                                                                                                                                              60.00
                                                                                               4. Food                                                                                                                              $ ______________
                                                                                                                                                                                                                                             800.00
                                                                                               5. Clothing                                                                                                                          $ ______________
                                                                                                                                                                                                                                             100.00
                                                                                               6. Laundry and dry cleaning                                                                                                          $ ______________
                                                                                                                                                                                                                                              30.00
                                                                                               7. Medical and dental expenses                                                                                                       $ ______________
                                                                                                                                                                                                                                              50.00
                                                                                               8. Transportation (not including car payments)                                                                                       $ ______________
                                                                                                                                                                                                                                             600.00
                                                                                               9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                  $ ______________
                                                                                                                                                                                                                                             100.00
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                                                                                               10.Charitable contributions                                                                                                          $ ______________
                                                                                                                                                                                                                                              20.00
                                                                                               11.Insurance (not deducted from wages or included in home mortgage payments)
                                                                                                          a. Homeowner’s or renter’s                                                                                                $ ______________
                                                                                                                                                                                                                                               0.00
                                                                                                          b. Life                                                                                                                   $ ______________
                                                                                                                                                                                                                                               0.00
                                                                                                          c. Health                                                                                                                 $ ______________
                                                                                                                                                                                                                                               0.00
                                                                                                          d.Auto                                                                                                                    $ ______________
                                                                                                                                                                                                                                             173.00
                                                                                                          e. Other                                                                                                                  $ ______________
                                                                                                                                                                                                                                               0.00
                                                                                               12.Taxes (not deducted from wages or included in home mortgage payments)
                                                                                               (Specify)                                                                                                                            $ ______________
                                                                                                                                                                                                                                               0.00
                                                                                               13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
                                                                                                          a. Auto                                                                                                                   $______________
                                                                                                                                                                                                                                             475.00
                                                                                                          b. Other                                                                                                                  $ ______________
                                                                                                                                                                                                                                               0.00
                                                                                                          c. Other                                                                                                                  $ ______________
                                                                                                                                                                                                                                               0.00
                                                                                               14. Alimony, maintenance, and support paid to others                                                                                 $ ______________
                                                                                                                                                                                                                                               0.00
                                                                                               15. Payments for support of additional dependents not living at your home                                                            $ ______________
                                                                                                                                                                                                                                               0.00
                                                                                               16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                     $ ______________
                                                                                                                                                                                                                                               0.00
                                                                                               17. Other                                                                                                                            $______________
                                                                                                                                                                                                                                               0.00
                                                                                               18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                                             $______________
                                                                                                                                                                                                                                           4,620.00
                                                                                               if applicable, on the Statistical Summary of Certain Liabilities and Related Data)
                                                                                               19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:
                                                                                                         None


                                                                                               20. STATEMENT OF MONTHLY NET INCOME
                                                                                                       a. Average monthly income from Line 15 of Schedule (Includes
                                                                                                                                                           I        spouse income of $2,189.72. See Schedule I)                         3,358.92
                                                                                                                                                                                                                                 $ ______________
                                                                                                       b. Average monthly expenses from Line 18 above                                                                            $ ______________
                                                                                                                                                                                                                                        4,620.00
                                                                                                       c. Monthly net income (a. minus b.)                (Net includes Debtor/Spouse combined Amounts)                                -1,261.08
                                                                                                                                                                                                                                 $ ______________
                                                                                                        Case 09-33843-MBK                     Doc 1    Filed 09/10/09 Entered 09/10/09 12:45:06                            Desc Main
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                                                                                                     B6 Summary (Official Form 6 - Summary) (12/07)




                                                                                                                                          United States Bankruptcy Court
                                                                                                                                                          District of New Jersey
                                                                                                                 DAVID BECKER & BONNIE BECKER
                                                                                                    In re                                                                                        Case No.
                                                                                                                                                      Debtor
                                                                                                                                                                                                 Chapter        7

                                                                                                                                                    SUMMARY OF SCHEDULES
                                                                                               Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
                                                                                               I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
                                                                                               claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also complete the “Statistical
                                                                                               Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.
                                                                                                                                                          AMOUNTS SCHEDULED
                                                                                                                                              ATTACHED
                                                                                                 NAME OF SCHEDULE                              (YES/NO)        NO. OF SHEETS            ASSETS               LIABILITIES            OTHER
                                                                                                 A – Real Property
                                                                                                                                              YES                     1            $   109,000.00

                                                                                                 B – Personal Property
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                                                                                                                                              YES                     3            $     62,653.94

                                                                                                 C – Property Claimed
                                                                                                     as exempt                                YES                     1

                                                                                                 D – Creditors Holding
                                                                                                    Secured Claims                            YES                     1                                  $     234,549.00

                                                                                                 E - Creditors Holding Unsecured
                                                                                                     Priority Claims                          YES                     3                                  $       2,687.70
                                                                                                    (Total of Claims on Schedule E)
                                                                                                 F - Creditors Holding Unsecured
                                                                                                     Nonpriority Claims                       YES                     8                                  $     194,423.00

                                                                                                 G - Executory Contracts and
                                                                                                     Unexpired Leases                         YES                     1

                                                                                                 H - Codebtors
                                                                                                                                              YES                     1

                                                                                                 I - Current Income of
                                                                                                     Individual Debtor(s)                     YES                     1                                                        $     3,358.92

                                                                                                 J - Current Expenditures of Individual
                                                                                                     Debtors(s)                               YES                     1                                                        $     4,620.00


                                                                                                                                      TOTAL                           21           $   171,653.94        $     431,659.70
                                                                                                 Official
                                                                                                   CaseForm  6 - Statistical Summary
                                                                                                          09-33843-MBK          Doc 1(12/07)
                                                                                                                                         Filed              09/10/09 Entered 09/10/09 12:45:06                      Desc Main
                                                                                                                                                       Document Page 31 of 60
                                                                                                                                     United States Bankruptcy Court
                                                                                                                                                           District of New Jersey

                                                                                                            In re       DAVID BECKER & BONNIE BECKER                                        Case No.
                                                                                                                                                      Debtor
                                                                                                                                                                                            Chapter        7

                                                                                               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

                                                                                                    If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
                                                                                               §101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                                     Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                                               information here.

                                                                                               This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                                               Summarize the following types of liabilities, as reported in the Schedules, and total them.


                                                                                                  Type of Liability                                                         Amount

                                                                                                  Domestic Support Obligations (from Schedule E)                            $
                                                                                                                                                                                     0.00
                                                                                                  Taxes and Certain Other Debts Owed to Governmental Units (from            $
                                                                                                  Schedule E)
                                                                                                                                                                                 2,687.70
                                                                                                  Claims for Death or Personal Injury While Debtor Was Intoxicated (from    $
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                                                                                                  Schedule E) (whether disputed or undisputed)                                       0.00
                                                                                                  Student Loan Obligations (from Schedule F)                                $        0.00
                                                                                                  Domestic Support, Separation Agreement, and Divorce Decree                $
                                                                                                  Obligations Not Reported on Schedule E                                             0.00
                                                                                                  Obligations to Pension or Profit-Sharing, and Other Similar Obligations
                                                                                                                                                                            $        0.00
                                                                                                  (from Schedule F)

                                                                                                                                                                   TOTAL    $    2,687.70


                                                                                                 State the Following:
                                                                                                  Average Income (from Schedule I, Line 16)                                 $    3,358.92
                                                                                                  Average Expenses (from Schedule J, Line 18)                               $    4,620.00
                                                                                                  Current Monthly Income (from Form 22A Line 12; OR, Form
                                                                                                  22B Line 11; OR, Form 22C Line 20 )                                       $
                                                                                                                                                                                 4,407.39



                                                                                                 State the Following:
                                                                                                  1. Total from Schedule D, “UNSECURED PORTION, IF
                                                                                                  ANY” column
                                                                                                                                                                                            $    92,663.00

                                                                                                  2. Total from Schedule E, “AMOUNT ENTITLED TO                             $
                                                                                                  PRIORITY” column.
                                                                                                                                                                                 1,943.70

                                                                                                  3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                         $
                                                                                                  PRIORITY, IF ANY” column                                                                             744.00

                                                                                                  4. Total from Schedule F                                                                  $   194,423.00
                                                                                                  5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                              $   287,830.00
                                                                                                              Case
                                                                                                     B6 (Official Form09-33843-MBK
                                                                                                                       6 - Declaration) (12/07)Doc                                 1       Filed 09/10/09 Entered 09/10/09 12:45:06                                                                  Desc Main
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                                                                                                               DAVID BECKER & BONNIE BECKER
                                                                                                     In re                                                                                                                                        Case No.
                                                                                                                                            Debtor                                                                                                                                   (If known)

                                                                                                                                     DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                                                                                                                    DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                                                                                                                                                                         23 sheets, and that they
                                                                                                                I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______
                                                                                                     are true and correct to the best of my knowledge, information, and belief.



                                                                                                      Date       9/1/09                                                                                                    Signature:          /s/ DAVID BECKER
                                                                                                                                                                                                                                                                              Debtor:


                                                                                                      Date       9/1/09                                                                                                    Signature:          /s/ BONNIE BECKER
                                                                                                                                                                                                                                                                     (Joint Debtor, if any)

                                                                                                                                                                                                                                  [If joint case, both spouses must sign.]
                                                                                                  -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                              DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                                                    I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                                110(h) and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable
                                                                                                by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or
                                                                                                accepting any fee from the debtor, as required by that section.


                                                                                                Printed or Typed Name and Title, if any,                                                                                             Social Security No.
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                                                                                                of Bankruptcy Petition Preparer                                                                                                 (Required by 11 U.S.C. § 110.)

                                                                                                 If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
                                                                                                 who signs this document.




                                                                                                 Address

                                                                                                 X
                                                                                                                      Signature of Bankruptcy Petition Preparer                                                                                                      Date

                                                                                               Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:



                                                                                               If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                               A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
                                                                                               18 U.S.C. § 156.
                                                                                               -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------


                                                                                                                    DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


                                                                                                     I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member
                                                                                               or an authorized agent of the partnership ] of the ___________________________________ [corporation or partnership] named as debtor
                                                                                               in this case, declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______sheets (total
                                                                                               shown on summary page plus 1),and that they are true and correct to the best of my knowledge, information, and belief.


                                                                                               Date                                                                                                                 Signature:


                                                                                                                                                                                                                                     [Print or type name of individual signing on behalf of debtor.]
                                                                                                                                [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                                                -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                       Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
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                                                                                                 B7 (Official Form 7) (12/07)
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                                                                                                                                   UNITED STATES BANKRUPTCY            COURT
                                                                                                                                              District of New Jersey

                                                                                               In Re DAVID BECKER & BONNIE BECKER                                                                  Case No.
                                                                                                                                                                                                                    (if known)


                                                                                                                                         STATEMENT OF FINANCIAL AFFAIRS

                                                                                                              This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
                                                                                                    the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
                                                                                                    information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                                                                                                    filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should
                                                                                                    provide the information requested on this statement concerning all such activities as well as the individual's personal affairs. To
                                                                                                    indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
                                                                                                    or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.
                                                                                                    R. Bankr. P. 1007(m).

                                                                                                              Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
                                                                                                    must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
                                                                                                    additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
                                                                                                    case number (if known), and the number of the question.

                                                                                                                                                                 DEFINITIONS

                                                                                                               "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
                                                                                                    individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
                                                                                                    the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of
                                                                                                    the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-
                                                                                                    employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor engages
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                                                                                                    in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                                                                "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
                                                                                                    their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5
                                                                                                    percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of
                                                                                                    such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.



                                                                                                               1. Income from employment or operation of business

                                                                                                               State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
                                                                                                               the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
                                                                                                   None        beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
                                                                                                               two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
                                                                                                               the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
                                                                                                               of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                               under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
                                                                                                               spouses are separated and a joint petition is not filed.)

                                                                                                                       AMOUNT                                                SOURCE

                                                                                                        2009(db)

                                                                                                        2008(db)          32,787     WAGES

                                                                                                        2007(db)



                                                                                                        2009(jdb)

                                                                                                        2008(jdb)

                                                                                                        2007(jdb)
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                                                                                                      2.   Income other than from employment or operation of business

                                                                                               None         State the amount of income received by the debtor other than from employment, trade, profession, or operation
                                                                                                      of the debtor's business during the two years immediately preceding the commencement of this case. Give
                                                                                                      particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter
                                                                                                      12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are
                                                                                                      separated and a joint petition is not filed.)

                                                                                                       AMOUNT                                                              SOURCE




                                                                                                      3. Payments to creditors
                                                                                               None

                                                                                                      Complete a. or b., as appropriate, and c.
                                                                                                      a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
                                                                                                      goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
                                                                                                      this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
                                                                                                      Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation
                                                                                                      or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor
                                                                                                      counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
                                                                                                      spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                               NAME AND ADDRESS OF CREDITOR                              DATES OF                            AMOUNT               AMOUNT STILL
                                                                                                                                                         PAYMENTS                              PAID                  OWING
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                                                                                               None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
                                                                                                      within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
                                                                                                      constitutes or is affected by such transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk
                                                                                                      (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an
                                                                                                      alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
                                                                                                      (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both
                                                                                                      spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                               NAME AND ADDRESS OF CREDITOR                              DATES OF                            AMOUNT               AMOUNT STILL
                                                                                                AND RELATIONSHIP TO DEBTOR                               PAYMENTS                              PAID                  OWING
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                                                                                               None

                                                                                                      c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or
                                                                                                      for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
                                                                                                      include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                      and a joint petition is not filed.)


                                                                                                NAME AND ADDRESS OF CREDITOR                             DATES OF                        AMOUNT PAID             AMOUNT STILL
                                                                                                 AND RELATIONSHIP TO DEBTOR                              PAYMENTS                                                   OWING


                                                                                                      4. Suits and administrative proceedings, executions, garnishments and attachments

                                                                                               None   a.    List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
                                                                                                      preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                      information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                      and a joint petition is not filed.)


                                                                                                CAPTION OF SUIT               NATURE OF PROCEEDING                            COURT OR                                STATUS OR
                                                                                               AND CASE NUMBER                                                           AGENCY AND LOCATION                          DISPOSITION


                                                                                               None   b.     Describe all property that has been attached, garnished or seized under any legal or equitable process within
                                                                                                      one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter
                                                                                                      13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
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                                                                                                      unless the spouses are separated and a joint petition is not filed.)


                                                                                                  NAME AND ADDRESS OF                                       DATE OF                                        DESCRIPTION AND
                                                                                                PERSON FOR WHOSE BENEFIT                                    SEIZURE                                       VALUE OF PROPERTY
                                                                                                  PROPERTY WAS SEIZED


                                                                                                      5.   Repossessions, foreclosures and returns

                                                                                               None         List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in
                                                                                                      lieu of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
                                                                                                      (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
                                                                                                      both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                   NAME AND                                DATE OF REPOSESSION,                                            DESCRIPTION AND
                                                                                                  ADDRESS OF                                FORECLOSURE SALE,                                             VALUE OF PROPERTY
                                                                                               CREDITOR OR SELLER                          TRANSFER OR RETURN
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                                                                                                       6. Assignments and Receiverships

                                                                                               None    a.     Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding
                                                                                                       the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any
                                                                                                       assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                                       joint petition is not filed.)


                                                                                                       NAME AND                                    DATE OF ASSIGNMENT                                  TERMS OF
                                                                                                      ADDRESS OF                                                                                      ASSIGNMENT
                                                                                                        ASSIGNEE                                                                                     OR SETTLEMENT


                                                                                               None    b.     List all property which has been in the hands of a custodian, receiver, or court-appointed official within one
                                                                                                       year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
                                                                                                       must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
                                                                                                       the spouses are separated and a joint petition is not filed.)


                                                                                                       NAME AND                          NAME AND LOCATION                            DATE OF                DESCRIPTION AND
                                                                                                      ADDRESS OF                         OF COURT CASE TITLE                           ORDER                VALUE OF PROPERTY
                                                                                                      CUSTODIAN                               & NUMBER



                                                                                                       7.   Gifts
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                                                                                               None         List all gifts or charitable contributions made within one year immediately preceding the commencement of this
                                                                                                       case, except ordinary and usual gifts to family members aggregating less than $200 in value per individual family
                                                                                                       member and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter
                                                                                                       12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed,
                                                                                                       unless the spouses are separated and a joint petition is not filed.)


                                                                                                      NAME AND                            RELATIONSHIP                          DATE OF                  DESCRIPTION AND
                                                                                                     ADDRESS OF                         TO DEBTOR, IF ANY                         GIFT                    VALUE OF GIFT
                                                                                               PERSON OR ORGANIZATION


                                                                                                       8.   Losses

                                                                                               None             List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
                                                                                                       commencement of this case or since the commencement of this case. (Married debtors filing under chapter 12 or
                                                                                                       chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                                       separated and a joint petition is not filed.)


                                                                                                  DESCRIPTION                            DESCRIPTION OF CIRCUMSTANCES, AND, IF LOSS                                DATE OF
                                                                                                   AND VALUE                                WAS COVERED IN WHOLE OR IN PART BY                                      LOSS
                                                                                                  OF PROPERTY                                   INSURANCE, GIVE PARTICULARS
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                                                                                                         9.   Payments related to debt counseling or bankruptcy

                                                                                               None           List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys,
                                                                                                         for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in
                                                                                                         bankruptcy within one year immediately preceding the commencement of this case.


                                                                                                          NAME AND ADDRESS                          DATE OF PAYMENT,                             AMOUNT OF MONEY OR
                                                                                                              OF PAYEE                              NAME OF PAYOR IF                               DESCRIPTION AND
                                                                                                                                                   OTHER THAN DEBTOR                              VALUE OF PROPERTY

                                                                                               EDWARD HANRATTY                              8/09                                            $2000.00
                                                                                               150 B TICES LANE
                                                                                               EAST BRUNSWICK NJ 08816

                                                                                               PIONEER CREDIT                               8/09                                            $35.00
                                                                                               COUNSELING
                                                                                               POB 6860
                                                                                               RAPID CITY, SD 57709


                                                                                                         10. Other transfers

                                                                                               None      a. List all other property, other than property transferred in the ordinary course of the business or financial affairs
                                                                                                         of the debtor, transferred either absolutely or as security within two years immediately preceding the commencement
                                                                                                         of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
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                                                                                                         whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                  NAME AND ADDRESS OF TRANSFEREE,                                     DATE                            DESCRIBE PROPERTY
                                                                                                      RELATIONSHIP TO DEBTOR                                                                           TRANSFERRED AND
                                                                                                                                                                                                        VALUE RECEIVED


                                                                                                         b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
                                                                                                         to a self-settled trust or similar device of which the debtor is a beneficiary.
                                                                                               None

                                                                                                      NAME OF TRUST OR OTHER DEVICE                                DATE(S) OF                     AMOUNT OF MONEY OR
                                                                                                                                                                  TRANSFER(S)                       DESCRIPTION AND
                                                                                                                                                                                                 VALUE OF PROPERTY OR
                                                                                                                                                                                              DEBTOR'S INTEREST IN PROPERTY
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                                                                                                        11. Closed financial accounts

                                                                                               None           List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which
                                                                                                        were closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case.
                                                                                                        Include checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share
                                                                                                        accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
                                                                                                        institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
                                                                                                        instruments held by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                        and a joint petition is not filed.)


                                                                                                        NAME AND                           TYPE OF ACCOUNT, LAST FOUR                                        AMOUNT AND
                                                                                                       ADDRESS OF                          DIGITS OF ACCOUNT NUMBER,                                         DATE OF SALE
                                                                                                       INSTITUTION                        AND AMOUNT OF FINAL BALANCE                                         OR CLOSING


                                                                                                        12. Safe deposit boxes

                                                                                               None              List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other
                                                                                                        valuables within one year immediately preceding the commencement of this case. (Married debtors filing under
                                                                                                        chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition
                                                                                                        is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                           NAME AND                      NAMES AND ADDRESSES OF                   DESCRIPTION OF               DATE OF
                                                                                                        ADDRESS OF BANK                 THOSE WITH ACCESS TO BOX                    CONTENTS                 TRANSFER OR
                                                                                                      OR OTHER DEPOSITORY                    OR DEPOSITORY                                                 SURRENDER, IF ANY
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                                                                                                        13. Setoffs

                                                                                               None            List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days
                                                                                                        preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                        information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                        and a joint petition is not filed.)


                                                                                                      NAME AND ADDRESS OF CREDITOR                                  DATE                                  AMOUNT
                                                                                                                                                                     OF                                      OF
                                                                                                                                                                   SETOFF                                  SETOFF

                                                                                                        14. Property held for another person

                                                                                               None          List all property owned by another person that the debtor holds or controls.


                                                                                                          NAME AND                              DESCRIPTION AND                              LOCATION OF PROPERTY
                                                                                                       ADDRESS OF OWNER                        VALUE OF PROPERTY
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                                                                                                       15. Prior address of debtor
                                                                                               None
                                                                                                              If the debtor has moved within the three years immediately preceding the commencement of this case, list all
                                                                                                       premises which the debtor occupied during that period and vacated prior to the commencement of this case. If a
                                                                                                       joint petition is filed, report also any separate address of either spouse.


                                                                                                      ADDRESS                                          NAME USED                                   DATES OF OCCUPANCY



                                                                                                       16. Spouses and Former Spouses
                                                                                               None
                                                                                                           If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska,
                                                                                                       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within
                                                                                                       eight years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
                                                                                                       any former spouse who resides or resided with the debtor in the community property state.


                                                                                                                    NAME


                                                                                                       17. Environmental Sites

                                                                                                       For the purpose of this question, the following definitions apply:

                                                                                                       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
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                                                                                                       releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
                                                                                                       other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
                                                                                                       wastes, or material.

                                                                                                                 "Site" means any location, facility, or property as defined under any Environmental Law, whether or not
                                                                                                                 presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                                                                                                                 "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
                                                                                                                 hazardous material, pollutant, or contaminant or similar term under an Environmental Law


                                                                                               None
                                                                                                       a.    List the name and address of every site for which the debtor has received notice in writing by a governmental
                                                                                                       unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
                                                                                                       governmental unit, the date of the notice, and, if known, the Environmental Law:


                                                                                                       SITE NAME                        NAME AND ADDRESS                         DATE OF                 ENVIRONMENTAL
                                                                                                      AND ADDRESS                     OF GOVERNMENTAL UNIT                       NOTICE                       LAW


                                                                                                       b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release
                                                                                                       of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
                                                                                               None

                                                                                                       SITE NAME                        NAME AND ADDRESS                         DATE OF                 ENVIRONMENTAL
                                                                                                      AND ADDRESS                     OF GOVERNMENTAL UNIT                       NOTICE                       LAW
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                                                                                                       c.    List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law
                                                                                                       with respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or
                                                                                               None    was a party to the proceeding, and the docket number.


                                                                                                        NAME AND ADDRESS                                DOCKET NUMBER                              STATUS OR DISPOSITION
                                                                                                      OF GOVERNMENTAL UNIT


                                                                                                       18. Nature, location and name of business

                                                                                               None    a.       If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                       businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or
                                                                                                       managing executive of a corporation, partnership, sole proprietorship, or was self-employed in a trade, profession, or
                                                                                                       other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
                                                                                                       which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
                                                                                                       preceding the commencement of this case.

                                                                                                       If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                                       beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                                       voting or equity securities, within the six years immediately preceding the commencement of this case.

                                                                                                       If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                                       beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                                       voting or equity securities within the six years immediately preceding the commencement of this case.

                                                                                                NAME           LAST FOUR DIGITS OF                     ADDRESS                 NATURE OF BUSINESS BEGINNING AND
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                                                                                                               SOCIAL-SECURITY OR                                                                 ENDING DATES
                                                                                                                OTHER INDIVIDUAL
                                                                                                                 TAXPAYER-I.D. NO.
                                                                                                               (ITIN)/ COMPLETE EIN


                                                                                                       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
                                                                                                       U.S.C. § 101.
                                                                                               None

                                                                                                       NAME                                                                                ADDRESS




                                                                                                                   [Questions 19 - 25 are not applicable to this case]
                                                                                                                                         *    *    *    *   *    *
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                                                                                                            [If completed by an individual or individual and spouse]

                                                                                                            I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                                                            thereto and that they are true and correct.
                                                                                                           9/1/09                                                                                         /s/ DAVID BECKER
                                                                                               Date                                                                            Signature
                                                                                                                                                                               of Debtor                  DAVID BECKER

                                                                                               Date        9/1/09                                                              Signature                  /s/ BONNIE BECKER
                                                                                                                                                                               of Joint Debtor            BONNIE BECKER

                                                                                                                                                                       0 continuation sheets attached
                                                                                                                                                                     _____


                                                                                                                   Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §152 and 3571




                                                                                                                       DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
                                                                                                    I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document and the notices and required under 11U.S.C. §§ 110(b), 110(h), and 342(b); (3) if
                                                                                               rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable by bankruptcy petition preparers, I
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                                                                                               have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required
                                                                                               in that section.




                                                                                               Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                       Social Security No. (Required by 11 U.S.C. § 110(c).)
                                                                                               If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or
                                                                                               partner who signs this document.




                                                                                               Address

                                                                                               X
                                                                                               Signature of Bankruptcy Petition Preparer                                                                                     Date

                                                                                               Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                               not an individual:

                                                                                               If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                               A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
                                                                                               or imprisonment or both. 18 U.S.C. §156.
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                                                                                                                                   UNITED STATES BANKRUPTCY COURT
                                                                                                                                                 District of New Jersey
                                                                                                       DAVID BECKER & BONNIE BECKER
                                                                                               In re                                                         ,         Case No.
                                                                                                                              Debtor                                                     Chapter 7



                                                                                                                        CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                                PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
                                                                                                secured by property of the estate. Attach additional pages if necessary.)


                                                                                                  Property No. 1
                                                                                                 Creditor's Name:                                                 Describe Property Securing Debt:
                                                                                                  WELLS FARGO BANK NV NA                                            RESIDENCE
                                                                                                  PO BOX 13557
                                                                                                  BILLINGS, MT 59107

                                                                                                  Property will be (check one):
                                                                                                            Surrendered                           Retained

                                                                                                  If retaining the property, I intend to (check at least one):
                                                                                                             Redeem the property
                                                                                                             Reaffirm the debt
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                                                                                                             Other. Explain _______________________________________________(for example, avoid lien
                                                                                                  using 11 U.S.C. §522(f)).

                                                                                                  Property is (check one):
                                                                                                             Claimed as exempt                                   Not claimed as exempt



                                                                                                  Property No. 2 (if necessary)
                                                                                                 Creditor's Name:                                                 Describe Property Securing Debt:
                                                                                                  GMAC MORTGAGE                                                     RESIDENCE
                                                                                                  PO BOX 4622
                                                                                                  WATERLOO IA 50704

                                                                                                  Property will be (check one):
                                                                                                            Surrendered                           Retained

                                                                                                  If retaining the property, I intend to (check at least one):
                                                                                                             Redeem the property
                                                                                                             Reaffirm the debt
                                                                                                             Other. Explain _______________________________________________(for example, avoid lien
                                                                                                  using 11 U.S.C. §522(f)).

                                                                                                  Property is (check one):
                                                                                                             Claimed as exempt                                   Not claimed as exempt
                                                                                                         Case 09-33843-MBK              Doc 1       Filed 09/10/09 Entered 09/10/09 12:45:06               Desc Main
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                                                                                                   PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for
                                                                                                   Each unexpired lease. Attach additional pages if necessary.)



                                                                                                     Property No. 1
                                                                                                    Lessor's Name:                                 Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                     AT&T                                          cell phone contract                  to 11 U.S.C. §365(p)(2)):
                                                                                                     PO Box 537104
                                                                                                     Atlanta GA 30353-7104                                                                 YES              NO


                                                                                                     Property No. 2 (if necessary)
                                                                                                    Lessor's Name:                                 Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                        to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                           YES              NO


                                                                                                     Property No. 3 (if necessary)
                                                                                                    Lessor's Name:                                 Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                        to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                           YES              NO

                                                                                                     1
                                                                                                    ______ continuation sheets attached (if any)
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                                                                                                   I declare under penalty of perjury that the above indicates my intention as to any property of my
                                                                                                   Estate securing debt and/or personal property subject to an unexpired lease.




                                                                                                         9/1/09
                                                                                                   Date:_____________________________                          /s/ DAVID BECKER
                                                                                                                                                            Signature of Debtor




                                                                                                                                                               /s/ BONNIE BECKER
                                                                                                                                                            Signature of Joint Debtor
                                                                                                             Case 09-33843-MBK                    Doc 1       Filed 09/10/09 Entered 09/10/09 12:45:06                         Desc Main
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                                                                                                                             CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                                                                                                  (Continuation Sheet)
                                                                                                  PART A - Continuation




                                                                                                    Property No: 3

                                                                                                    Creditor's Name:                                                             Describe Property Securing Debt:
                                                                                                     AMERICAN HONDA FINANCE                                                       2009 HONDA ACCORD
                                                                                                     PO BOX 6070
                                                                                                     CYPRESS CA 90630


                                                                                                         Property will be    (check one):
                                                                                                                  Surrendered                                       Retained

                                                                                                         If retaining the property, I intend to   (check at least one):
                                                                                                                  Redeem the property
                                                                                                                  Reaffirm the debt
                                                                                                                  Other. Explain                                                                                    (for example, avoid lien
                                                                                                         using 11 U.S.C.§522(f)).

                                                                                                         Property is (check one):
                                                                                                                Claimed as exempt                                              Not claimed as exempt
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                                                                                                                                 UNITED STATES BANKRUPTCY COURT
                                                                                                                                               District of New Jersey
                                                                                                            NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                                                                                                                          OF THE BANKRUPTCY CODE
                                                                                                         In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1)
                                                                                                Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and
                                                                                                costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and
                                                                                                notifies you that the Attorney General may examine all information you supply in connection with a bankruptcy case.

                                                                                                        You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
                                                                                                advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees
                                                                                                cannot give you legal advice.

                                                                                                        Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to
                                                                                                ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the
                                                                                                court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to
                                                                                                each other), and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally
                                                                                                receive a single copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a
                                                                                                statement with the court requesting that each spouse receive a separate copy of all notices.

                                                                                               1. Services Available from Credit Counseling Agencies
                                                                                                        With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
                                                                                               bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit
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                                                                                               counseling and provides assistance in performing a budget analysis. The briefing must be given within 180 days before
                                                                                               the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by telephone
                                                                                               or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the United States
                                                                                               trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the approved
                                                                                               budget and credit counseling agencies. Each debtor in a joint case must complete the briefing.

                                                                                                       In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
                                                                                               management instructional course before he or she can receive a discharge. The clerk also has a list of approved
                                                                                               financial management instructional courses. Each debtor in a joint case must complete the course.

                                                                                               2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

                                                                                                         Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)
                                                                                                         1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
                                                                                               Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
                                                                                               should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
                                                                                               residence and family size, in some cases, creditors have the right to file a motion requesting that the court dismiss your case
                                                                                               under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
                                                                                                         2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
                                                                                               right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
                                                                                                         3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to
                                                                                               have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge
                                                                                               and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
                                                                                                         4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
                                                                                               may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
                                                                                               and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
                                                                                               which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor
                                                                                               vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud,
                                                                                               breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is
                                                                                               not discharged.
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                                                                                                       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
                                                                                               $39 administrative fee: Total fee $274)
                                                                                                       1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of
                                                                                               their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain
                                                                                               dollar amounts set forth in the Bankruptcy Code.
                                                                                                       2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you
                                                                                               owe them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
                                                                                               depending upon your income and other factors. The court must approve your plan before it can take effect.
                                                                                                       3. After completing the payments under your plan, your debts are generally discharged except for domestic support
                                                                                               obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
                                                                                               properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
                                                                                               secured obligations.

                                                                                                       Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
                                                                                                       Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions
                                                                                               are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

                                                                                                       Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
                                                                                                       Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
                                                                                               future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
                                                                                               income arises primarily from a family-owned farm or commercial fishing operation.

                                                                                               3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

                                                                                                        A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
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                                                                                               perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
                                                                                               information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
                                                                                               acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
                                                                                               employees of the Department of Justice.

                                                                                               WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
                                                                                               creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
                                                                                               information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the
                                                                                               local rules of the court.
                                                                                                                                Certificate of [Non-Attorney] Bankruptcy Petition Preparer
                                                                                                         I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor
                                                                                               this notice required by § 342(b) of the Bankruptcy Code.
                                                                                               ________________________________________                                ___________________________________
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer         Social Security number (If the bankruptcy petition
                                                                                               Address:                                                                preparer is not an individual, state the Social Security
                                                                                               ________________________________________                                number of the officer, principal, responsible person, or partner of
                                                                                                                                                                       the bankruptcy petition preparer.) (Required
                                                                                               X_______________________________________                                by 11 U.S.C. § 110.)
                                                                                               Signature of Bankruptcy Petition Preparer or officer,
                                                                                               principal, responsible person, or partner whose Social
                                                                                               Security number is provided above.

                                                                                                                                                        Certificate of the Debtor
                                                                                                        I (We), the debtor(s), affirm that I (we) have received and read this notice.

                                                                                               DAVID BECKER & BONNIE BECKER
                                                                                               ______________________________________________                              /s/ DAVID BECKER        9/1/09
                                                                                                                                                                         X___________________________________
                                                                                               Printed Name(s) of Debtor(s)                                              Signature of Debtor  Date

                                                                                               Case No. (if known) ____________________                                    /s/ BONNIE BECKER              9/1/09
                                                                                                                                                                         X___________________________________
                                                                                                                                                                         Signature of Joint Debtor (if any) Date
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           American Express
           PO Box 981537
           El Paso TX 79998


           AMERICAN HONDA FINANCE
           200 CONTINENTAL DR, STE 301
           NEWARK, DE 19713



           AMERICAN HONDA FINANCE
           PO BOX 6070
           CYPRESS CA 90630



           AT&T
           PO Box 537104
           Atlanta GA 30353-7104


           BARCLAYS BANK
           125 S WEST ST
           WILMIGTON DE 19801


           Borough of Milltown
           39 Washington Avenue
           Milltown NJ 08850


           CAPITAL ONE
           PO BOX 30281
           SALT LAKE CITY UT 84130


           CHASE
           800 BROOKSEDGE BLVD
           COLUMBUS OH 43081


           CHASE
           800 BROOKSEDGE BLVD
           COLUMBUS OH 43081


           CHASE BANK USA NA
           800 BROOKSEDGE BLV
           WESTERVILLE OH 43081
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           CHASE BANK USA NA
           800 BROOKSEDGE BLV
           WESTERVILLE OH 43081


           CHASE BANK USA NA
           800 BROOKSEDGE BLV
           WESTERVILLE OH 43081


           CITI
           PO BOX 6241
           SIOUX FALLS, SD 57117


           CITI
           PO BOX 6241
           SIOUX FALLS, SD 57117


           DISCOVER FIN SVCS LLC
           PO BOX 15316
           WILMINGTON DE 19850


           GEMB/CARE CREDIT
           PO BOX 981439
           EL PASO TX 79998


           GEMB/LOWES
           PO BOX 981400
           EL PASO TX 79998


           GEMB/SAMS CLUB
           PO BOX 981064
           EL PASO TX 79998


           GEMB/SAMS CLUB
           PO BOX 981064
           EL PASO TX 79998


           GEMBPPBYOR
           PO BOX 981400
           EL PASO TX 79998
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           GMAC MORTGAGE
           PO BOX 4622
           WATERLOO IA 50704


           HOME DEPOT/CBSD
           PO BOX6497
           SIOUX FALLS SD 57117


           HOME DEPOT/CBSD
           PO BOX6497
           SIOUX FALLS SD 57117


           KOHLS/CHASE
           N 56 W17000 RIDGEWOOD DR
           MENOMONEE FLS WI 53051


           LANE BRYANT
           450 WINKS LN
           BENSALEM PA 19020


           LANE BRYANT
           450 WINKS LN
           BENSALEM PA 19020


           Northland Group
           PO Box 390905
           Minneapolis MN 55439


           Penn Credit Corporation
           PO Box 988
           Harrisburg PA 17108


           Portfolio Recovery Associates LLC
           Dept 922
           PO Box 4115
           Concord CA 94524


           Robert Berkowitz, DC
           34 Woodbridge Ave.
           Highland PArk NJ 08904
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           Robert Wood Johnson University Hospital
           1 Robert Wood Johnson Place
           New Brunswick, NJ 08903


           St. Peter's University Hospital
           254 Easton Ave.
           New Brunswick, NJ 08901


           STATE OF NJ HIGHED AS
           PO BOX 548
           TRENTON NJ 08625


           STATE OF NJ HIGHED AS
           PO BOX 548
           TRENTON NJ 08625


           STATE OF NJ HIGHED AS
           PO BOX 548
           TRENTON NJ 08625


           TARGET NB
           PO BOX 673
           MINNEAPOLIS MN 55440


           US BANK
           POB 108
           SAINT LOUIS, MO 63166


           US DEP ED
           150 BLEEKER ST
           UTICA NY 13501


           US DEP ED
           150 BLEEKER ST
           UTICA NY 13501


           WELLS FARGO BANK NV NA
           PO BOX 13557
           BILLINGS, MT 59107
                                                                                                          Case 09-33843-MBK                     Doc 1        Filed 09/10/09 Entered 09/10/09 12:45:06                                    Desc Main
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                                                                                               12/94
                                                                                                                                         United States Bankruptcy Court
                                                                                                                                                                District of New Jersey
                                                                                                       In re DAVID BECKER & BONNIE BECKER                                                        Case No. ____________________
                                                                                                                                                                                                 Chapter           7
                                                                                                                                                                                                              ____________________
                                                                                                       Debtor(s)
                                                                                                                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

                                                                                               1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s)
                                                                                                       and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
                                                                                                       rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follow s:

                                                                                                                                                                                                    2,000.00
                                                                                                       For legal services, I have agreed to accept .............................……………………….... $ ______________
                                                                                                                                                                                                        2,000.00
                                                                                                       Prior to the filing of this statement I have received ..........…………………................... $ ______________

                                                                                                                                                                                                       0.00
                                                                                                       Balance Due ......................................……………………………………….................... $ ______________

                                                                                               2.      The source of compensation paid to me was:

                                                                                                                        Debtor                   Other (specify)
                                                                                               3.      The source of compensation to be paid to me is:
                                                                                                                        Debtor                   Other (specify)

                                                                                               4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and
                                                                                               associates of my law firm.

                                                                                                          I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates
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                                                                                               of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

                                                                                               5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
                                                                                                        a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                                                        b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
                                                                                                        c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;




                                                                                                6.       By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                                                                                                                          CERTIFICATION

                                                                                                               I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
                                                                                                            debtor(s) in the bankruptcy proceeding.

                                                                                                               9/1/09                                                              /s/ Edward Hanratty 5750
                                                                                                            ____________________________________                                 __________________________________________________
                                                                                                                           Date                                                                      Signature of Attorney

                                                                                                                                                                                 __________________________________________________
                                                                                                                                                                                                  Name of law firm
                                                                                                       Case 09-33843-MBK              Doc 1      Filed 09/10/09 Entered 09/10/09 12:45:06                      Desc Main
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                                                                                                                                                               According to the information required to be entered on this statement
                                                                                                                                                               (check one box as directed in Part I, III, or VI of this statement):
                                                                                               In re   DAVID BECKER & BONNIE BECKER                                          The presumption arises.
                                                                                                                      Debtor(s)                                              The presumption does not arise.
                                                                                                                                                                             The presumption is temporarily inapplicable.
                                                                                               Case Number:
                                                                                                                     (If known)

                                                                                                                  CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
                                                                                                                            AND MEANS-TEST CALCULATION
                                                                                               In addition to Schedule I and J, this statement must be completed by every individual Chapter 7 debtor, whether or not filing jointly.
                                                                                               Unless the exclusion in Line 1C applies, joint debtors may complete a single statement. If the exclusion in Line 1C
                                                                                               applies, each joint filer must complete a separate statement.

                                                                                                       Part I. EXCLUSION FOR DISABLED VETERANS AND NON-CONSUMER DEBTORS
                                                                                                       If you are a disabled veteran described in the Veteran’s Declaration in this Part IA, (1) check the box at the beginning of the
                                                                                                       Veteran’s Declaration, (2) check the box for “The presumption does not arise” at the top of this statement, and (3) complete
                                                                                                       the verification in Part VIII. Do not complete any of the remaining parts of this statement.
                                                                                                  1A
                                                                                                           Veteran’s Declaration. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as
                                                                                                       defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as
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                                                                                                       defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).

                                                                                                       If your debts are not primarily consumer debts, check the box below and complete the verification in Part VIII. Do not
                                                                                                       complete any of the remaining parts of this statement.
                                                                                                  1B
                                                                                                           Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.


                                                                                                        Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve
                                                                                                        component of the Armed Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C.
                                                                                                        § 101(d)(1)) after September 11, 2001, for a period of at least 90 days, or who have performed homeland defense activity
                                                                                                        (as defined in 32 U.S.C. § 901(1)) for a period of at least 90 days, are excluded from all forms of means testing during the
                                                                                                        time of active duty or homeland defense activity and for 540 days thereafter (the “exclusion period”). If you qualify for
                                                                                                        this temporary exclusion, (1) check the appropriate boxes and complete any required information in the Declaration of
                                                                                                        Reservists and National Guard Members below, (2) check the box for “The presumption is temporarily inapplicable” at the
                                                                                                        top of this statement, and (3) complete the verification in Part VIII. During your exclusion period you are not required
                                                                                                        to complete the balance of this form, but you must complete the form no later than 14 days after the date on which
                                                                                                        your exclusion period ends, unless the time for filing a motion raising the means test presumption expires in your
                                                                                                        case before your exclusion period ends.

                                                                                                             Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries
                                                                                                        below, I declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve
                                                                                                        component of the Armed Forces or the National Guard
                                                                                                  1C
                                                                                                                          a.     I was called to active duty after September 11, 2001, for a period of at least 90 days and
                                                                                                                                       I remain on active duty /or/
                                                                                                                                       I was released from active duty on ________________, which is less than 540 days before
                                                                                                                          this bankruptcy case was filed;
                                                                                                                                   OR
                                                                                                                          b.     I am performing homeland defense activity for a period of at least 90 days /or/
                                                                                                                                 I performed homeland defense activity for a period of at least 90 days, terminating on
                                                                                                                          _______________, which is less than 540 days before this bankruptcy case was filed.
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                                                                                                          Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
                                                                                                     Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.

                                                                                                     a.        Unmarried. Complete only Column A (“Debtor’s Income”) for Lines 3-11.

                                                                                                     b.     Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
                                                                                                     penalty of perjury: “My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are
                                                                                                     living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code.”
                                                                                                     Complete only Column A (“Debtor’s Income”) for Lines 3-11.

                                                                                                 2   c.   Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both
                                                                                                     Column A (“Debtor’s Income”) and Column B (“Spouse’s Income”) for Lines 3-11.

                                                                                                     d.     Married, filing jointly. Complete both Column A (“Debtor’s Income”) and Column B ("Spouse’s Income")
                                                                                                     for Lines 3-11.

                                                                                                     All figures must reflect average monthly income received from all sources, derived during the       Column A       Column B
                                                                                                     six calendar months prior to filing the bankruptcy case, ending on the last day of the month        Debtor’s       Spouse’s
                                                                                                     before the filing. If the amount of monthly income varied during the six months, you must            Income         Income
                                                                                                     divide the six-month total by six, and enter the result on the appropriate line.
                                                                                                 3   Gross wages, salary, tips, bonuses, overtime, commissions.                                      $    1,300.00 $     2,662.63
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                                                                                                     Income from the operation of a business, profession or farm. Subtract Line b from
                                                                                                     Line a and enter the difference in the appropriate column(s) of Line 4. If you operate more
                                                                                                     than one business, profession or farm, enter aggregate numbers and provide details on an
                                                                                                     attachment. Do not enter a number less than zero. Do not include any part of the
                                                                                                 4   business expenses entered on Line b as a deduction in Part V.

                                                                                                          a.      Gross receipts                                     $                       0.00
                                                                                                          b.      Ordinary and necessary business expenses           $                       0.00
                                                                                                          c.      Business income                                    Subtract Line b from Line a
                                                                                                                                                                                                     $       0.00 $           0.00
                                                                                                     Rent and other real property income. Subtract Line b from Line a and enter the
                                                                                                     difference in the appropriate column(s) of Line 5. Do not enter a number less than zero. Do
                                                                                                     not include any part of the operating expenses entered on Line b as a deduction in
                                                                                                     Part V.
                                                                                                5
                                                                                                          a.      Gross receipts                                     $                       0.00
                                                                                                          b.      Ordinary and necessary operating expenses          $                       0.00
                                                                                                          c.      Rent and other real property income                Subtract Line b from Line a     $       0.00 $           0.00

                                                                                                6    Interest, dividends and royalties.                                                              $       0.00 $           0.00
                                                                                                7    Pension and retirement income.                                                                  $       0.00 $           0.00
                                                                                                     Any amounts paid by another person or entity, on a regular basis, for the household
                                                                                                     expenses of the debtor or the debtor’s dependents, including child support paid for
                                                                                                8    that purpose. Do not include alimony or separate maintenance payments or amounts paid
                                                                                                     by your spouse if Column B is completed.                                                        $       0.00 $           0.00
                                                                                                     Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
                                                                                                     However, if you contend that unemployment compensation received by you or your spouse
                                                                                                     was a benefit under the Social Security Act, do not list the amount of such compensation in
                                                                                                9    Column A or B, but instead state the amount in the space below:

                                                                                                      Unemployment compensation claimed to be                      380.09                64.66
                                                                                                      a benefit under the Social Security Act           Debtor $            Spouse $                         0.00          444.76
                                                                                                                                                                                                     $              $
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                                                                                                     Income from all other sources. Specify source and amount. If necessary, list additional
                                                                                                     sources on a separate page. Do not include alimony or separate maintenance payments
                                                                                                     paid by your spouse if Column B is completed, but include all other payments of
                                                                                                     alimony or separate maintenance. Do not include any benefits received under the Social
                                                                                               10    Security Act or payments received as a victim of a war crime, crime against humanity, or as a
                                                                                                     victim of international or domestic terrorism.
                                                                                                       a.                                                                         $         0.00
                                                                                                       b.                                                                         $         0.00
                                                                                                        Total and enter on Line 10                                                                     $       0.00   $        0.00
                                                                                                     Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in
                                                                                               11    Column A, and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the
                                                                                                     total(s).                                                                                         $              $
                                                                                                                                                                                                           1,300.00        3,107.39
                                                                                                     Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add
                                                                                               12    Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been
                                                                                                     completed, enter the amount from Line 11, Column A.                                               $                   4,407.39
                                                                                                                          Part III. APPLICATION OF § 707(b)(7) EXCLUSION

                                                                                               13    Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the
                                                                                                     number 12 and enter the result.                                                                              $       52,888.68
                                                                                                     Applicable median family income. Enter the median family income for the applicable state and
                                                                                               14    household size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of
                                                                                                     the bankruptcy court.)
                                                                                                                                           NewJersey
                                                                                                     a. Enter debtor’s state of residence: _______________                                          2
                                                                                                                                                                b. Enter debtor’s household size: __________      $
                                                                                                                                                                                                                          69,853.00
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                                                                                                     Application of Section 707(b)(7).       Check the applicable box and proceed as directed.

                                                                                                            The amount on Line 13 is less than or equal to the amount on Line 14. Check the “The presumption does
                                                                                               15           not arise” box at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.

                                                                                                            The amount on Line 13 is more than the amount on Line 14.             Complete the remaining parts of this statement.


                                                                                                            Complete Parts IV, V, VI and VII of this statement only if required. (See Line 15).


                                                                                                        Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
                                                                                               16    Enter the amount from Line 12.                                                                               $           N.A.
                                                                                                     Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income
                                                                                                     listed in Line 11, Column B that was NOT paid on a regular basis for the household expenses of the
                                                                                                     debtor or the debtor's dependents. Specify in the lines below the basis for excluding the Column B
                                                                                                     income (such as payment of the spouse's tax liability or the spouse's support of persons other than the
                                                                                                     debtor or the debtor's dependents) and the amount of income devoted to each purpose. If necessary,
                                                                                                     list additional adjustments on a separate page. If you did not check box at Line 2.c, enter zero.
                                                                                               17
                                                                                                       a.                                                                        $
                                                                                                       b.                                                                        $
                                                                                                       c.                                                                        $

                                                                                                     Total and enter on Line 17.                                                                                  $           N.A.
                                                                                               18    Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                              N.A.
                                                                                                                                                                                                                  $

                                                                                                                       Part V. CALCULATION OF DEDUCTIONS FROM INCOME

                                                                                                     Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
                                                                                                     National Standards: food, clothing and items. Enter in Line 19A the “Total” amount from IRS
                                                                                               19A   National Standards for Food, Clothing and Other Items for the applicable household size. (This
                                                                                                     information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                   $           N.A.
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                                                                                                     National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for
                                                                                                     Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards
                                                                                                     for persons 65 years of age or older. (This information is available at www.usdoj.gov/ust/ or from the
                                                                                                     clerk of the bankruptcy court.) Enter in Line b1 the number of members of your household who are
                                                                                                     under 65 years of age, and enter in Line b2 the number of members of your household who are 65
                                                                                                     years or older. (The total number of household members must be the same as the number stated in
                                                                                                     Line 14b). Multiply line a1 by Line b1 to obtain a total amount for household members under 65, and
                                                                                                     enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for household members
                                                                                               19B   65 and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care amount,
                                                                                                     and enter the result in Line 19B.

                                                                                                      Household members under 65 years of age            Household members 65 years of age or older

                                                                                                       a1.      Allowance per member             N.A.     a2.     Allowance per member               N.A.
                                                                                                       b1.      Number of members                 N.A.    b2.    Number of members
                                                                                                       c1.      Subtotal                         N.A.     c2.     Subtotal                           N.A.        $         N.A.
                                                                                                     Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the
                                                                                               20A   IRS Housing and Utilities Standards; non-mortgage expenses for the applicable county and household
                                                                                                     size. (This information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)      $         N.A.

                                                                                                     Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below,
                                                                                                     the amount of the IRS Housing and Utilities Standards; mortgage/rent expense for your county and
                                                                                                     household size (this information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
                                                                                                     court); enter on Line b the total of the Average Monthly Payments for any debts secured by your home,
                                                                                                     as stated in Line 42; subtract Line b from Line a and enter the result in Line 20B. Do not enter an
                                                                                               20B   amount less than zero.
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                                                                                                     a.       IRS Housing and Utilities Standards; mortgage/rental expense    $                         N.A.
                                                                                                              Average Monthly Payment for any debts secured by
                                                                                                     b.
                                                                                                              your home, if any, as stated in Line 42                         $                         N.A.
                                                                                                     c.       Net mortgage/rental expense                                     Subtract Line b from Line a        $         N.A.

                                                                                                     Local Standards: housing and utilities; adjustment. If you contend that the process set
                                                                                                     out in Lines 20A and 20B does not accurately compute the allowance to which you are entitled under
                                                                                                     the IRS Housing and Utilities Standards, enter any additional amount to which you contend you are
                                                                                                     entitled, and state the basis for your contention in the space below:
                                                                                                21


                                                                                                                                                                                                                 $         N.A.
                                                                                                     Local Standards: transportation; vehicle operation/public transportation expense.
                                                                                                     You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
                                                                                                     operating a vehicle and regardless of whether you use public transportation.
                                                                                                     Check the number of vehicles for which you pay the operating expenses or for which the operating
                                                                                                     expenses are included as a contribution to your household expenses in Line 8.
                                                                                               22A        0      1    2 or more.
                                                                                                     If you checked 0, enter on Line 22A the "Public Transportation" amount from IRS Local Standards:
                                                                                                     Transportation. If you checked 1 or 2 or more, enter on Line 22A the "Operating Costs" amount from
                                                                                                     IRS Local Standards: Transportation for the applicable number of vehicles in the applicable
                                                                                                     Metropolitan Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/
                                                                                                     or from the clerk of the bankruptcy court.)                                                                 $         N.A.

                                                                                                     Local Standards: transportation; additional public transportation expense.
                                                                                                     If you pay the operating expenses for a vehicle and also use public transportation, and you contend
                                                                                               22B   that you are entitled to an additional deduction for your public transportation expenses, enter on Line
                                                                                                     22B the "Public Transportation" amount from IRS Local Standards: Transportation. (This amount is
                                                                                                     available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                 $         N.A.
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                                                                                                    Local Standards: transportation ownership/lease expense; Vehicle 1. Check the
                                                                                                    number of vehicles for which you claim an ownership/lease expense. (You may not claim an
                                                                                                    ownership/lease expense for more than two vehicles.)
                                                                                                         1         2 or more.
                                                                                                    Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Transportation Standards:
                                                                                                    Transportation (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line
                                                                                                    b the total of the Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42;
                                                                                               23   subtract Line b from Line a and enter the result in Line 23. Do not enter an amount less than zero.
                                                                                                      a.      IRS Transportation Standards, Ownership Costs                   $                        N.A.
                                                                                                              Average Monthly Payment for any debts secured by Vehicle 1,
                                                                                                      b.                                                                  $
                                                                                                              as stated in Line 42                                                                     N.A.
                                                                                                      c.      Net ownership/lease expense for Vehicle 1                       Subtract Line b from Line a.
                                                                                                                                                                                                                 $        N.A.

                                                                                                    Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line
                                                                                                    only if you checked the “2 or more” Box in Line 23.
                                                                                                    Enter, in Line a below, the "Ownership Costs" for "One Car" from the IRS Local Standards: Transportation
                                                                                                    (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of
                                                                                                    that Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b
                                                                                                    from Line a and enter the result in Line 24. Do not enter an amount less than zero.
                                                                                               24
                                                                                                       a.      IRS Transportation Standards, Ownership Costs                      $                    N.A.
                                                                                                               Average Monthly Payment for any debts secured by Vehicle 2,
                                                                                                       b.
                                                                                                               as stated in Line 42                                               $                    N.A.
                                                                                                       c.      Net ownership/lease expense for Vehicle 2                          Subtract Line b from Line a.       $    N.A.
                                                                                                    Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur
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                                                                                               25   for all federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self em-
                                                                                                                                                                                                                   $
                                                                                                    ployment taxes, social security taxes, and Medicare taxes. Do not include real estate or sales taxes.                 N.A.
                                                                                                     Other Necessary Expenses: involuntary deductions for employment. Enter the total
                                                                                                     average monthly payroll deductions that are required for your employment, such as retirement
                                                                                               26
                                                                                                     contributions, union dues, and uniform costs. Do not include discretionary amounts, such as
                                                                                                     voluntary 401(k) contributions.                                                                                 $    N.A.
                                                                                                     Other Necessary Expenses: life insurance. Enter total average monthly premiums that you
                                                                                               27    actually pay for term life insurance for yourself. Do not include premiums on your dependents, for
                                                                                                                                                                                                                     $
                                                                                                     whole life or for any other form of insurance.                                                                       N.A.
                                                                                                     Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that
                                                                                               28    you are required to pay pursuant to court order or administrative agency, such as spousal or child
                                                                                                     support payments. Do not include payments on past due obligations included in Line 44.                          $    N.A.
                                                                                                     Other Necessary Expenses: education for employment or for a physically or
                                                                                                     mentally challenged child. Enter the total average monthly amount that you actually expend for
                                                                                               29    education that is a condition of employment and for education that is required for a physically or
                                                                                                     mentally challenged dependent child for whom no public education providing similar services is available.       $
                                                                                                                                                                                                                          N.A.
                                                                                                     Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually
                                                                                               30    expend on childcare—such as baby-sitting, day care, nursery and preschool. Do not include other
                                                                                                     educational payments.                                                                                           $    N.A.
                                                                                                    Other Necessary Expenses: health care. Enter the total average monthly amount that you
                                                                                               31   actually expend on health care that is required for the health and welfare of yourself or your dependents,
                                                                                                    that is not reimbursed by insurance or paid by a health savings account, and that is in excess of the
                                                                                                    amount entered in Lin 19B. Do not include payments for health insurance or health savings
                                                                                                    accounts listed in Line 34.                                                                                      $    N.A.
                                                                                                     Other Necessary Expenses: telecommunication services. Enter the total average monthly
                                                                                               32    amount that you actually pay for telecommunication services other than your basic home telephone and
                                                                                                     cell phone service—such as pagers, call waiting, caller id, special long distance, or internet service—to
                                                                                                     the extent necessary for your health and welfare or that of your dependents. Do not include any
                                                                                                     amount previously deducted.                                                                                     $    N.A.
                                                                                               33    Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32                              $    N.A.
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                                                                                                                     Subpart B: Additional Expense Deductions under § 707(b)
                                                                                                               Note: Do not include any expenses that you have listed in Lines 19-32.

                                                                                                     Health Insurance, Disability Insurance and Health Savings Account Expenses. List the
                                                                                                     monthly expenses in the categories set out in lines a-c below that are reasonably necessary for yourself,
                                                                                                     your spouse, or your dependents.
                                                                                                        a.      Health Insurance                                                  $                         N.A.
                                                                                                        b.      Disability Insurance                                              $                         N.A.
                                                                                                34      c.      Health Savings Account                                            $                         N.A.
                                                                                                                                                                                                                   $        N.A.
                                                                                                        Total and enter on Line 34.

                                                                                                        If you do not actually expend this total amount, state your actual average expenditures in the
                                                                                                        space below:
                                                                                                        $           N.A.

                                                                                                     Continued contributions to the care of household or family members. Enter the total
                                                                                                35   average actual monthly expenses that you will continue to pay for the reasonable and necessary care and
                                                                                                     support of an elderly, chronically ill, or disabled member of your household or member of your immediate
                                                                                                     family who is unable to pay for such expenses.
                                                                                                                                                                                                                            N.A.
                                                                                                                                                                                                              $

                                                                                                     Protection against family violence. Enter the total average reasonably necessary monthly
                                                                                                36   expenses that you actually incurred to maintain the safety of your family under the Family Violence
                                                                                                     Prevention and Services Act or other applicable federal law. The nature of these expenses is required to
                                                                                                                                                                                                                   $        N.A.
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                                                                                                     be kept confidential by the court.

                                                                                                     Home energy costs Enter the total average monthly amount, in excess of the allowance specified by
                                                                                                37   IRS Local Standards for Housing and Utilities that you actually expend for home energy costs. You must
                                                                                                     provide your case trustee with documentation of your actual expenses, and you must
                                                                                                     demonstrate that the additional amount claimed is reasonable and necessary.                            $               N.A.

                                                                                                     Education expenses for dependent children less than 18. Enter the total average monthly
                                                                                                     expenses that you actually incur, not to exceed $137.50 per child, for attendance at a private or public
                                                                                                38   elementary or secondary school by your dependent children less than 18 years of age. You must
                                                                                                     provide your case trustee with documentation of your actual expenses and you must explain
                                                                                                     why the amount claimed is reasonable and necessary and not already accounted for in the IRS
                                                                                                     Standards.                                                                                                    $        N.A.

                                                                                                     Additional food and clothing expense. Enter the total average monthly amount by which your
                                                                                                     food and clothing expenses exceed the combined allowances for food and clothing (apparel and services)
                                                                                                39   in the IRS National Standards, not to exceed 5% of those combined allowances. (This information is
                                                                                                     available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate
                                                                                                     that the additional amount claimed is reasonable and necessary.                                               $        N.A.

                                                                                                     Continued charitable contributions. Enter the amount that you will continue to contribute in
                                                                                                40
                                                                                                     the form of cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170
                                                                                                     (c)(1)-(2)                                                                                                    $        N.A.
                                                                                                41   Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40. $                          N.A.
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                                                                                                                                   Subpart C: Deductions for Debt Payment

                                                                                                      Future payments on secured claims. For each of your debts that is secured by an interest in
                                                                                                      property that you own, list the name of creditor, identify the property securing the debt, and state the
                                                                                                      Average Monthly Payment, and check whether the payment includes taxes or insurance. The Average
                                                                                                      Monthly Payment is the total of all amounts contractually due to each Secured Creditor in the 60
                                                                                                      months following the filing of the bankruptcy case, divided by 60. If necessary, list additional entries on
                                                                                                      a separate page. Enter the total Average Monthly payments on Line 42.

                                                                                               42             Name of Creditor               Property Securing the Debt            Average        Does payment
                                                                                                                                                                                   Monthly        include taxes
                                                                                                                                                                                   Payment        or insurance?
                                                                                                     a.                                                                        $                      yes      no
                                                                                                     b.                                                                        $                      yes      no
                                                                                                     c.                                                                        $                      yes      no
                                                                                                                                                                              Total: Add Lines
                                                                                                                                                                              a, b and c                                   N.A.
                                                                                                                                                                                                                    $
                                                                                                    Other payments on secured claims. If any of the debts listed in Line 42 are secured by your
                                                                                                    primary residence, a motor vehicle, or other property necessary for your support or the support of your
                                                                                                    dependents, you may include in your deduction 1/60th of any amount (the “cure amount”) that you must
                                                                                                    pay the creditor in addition to the payments listed in Line 42, in order to maintain possession of the
                                                                                                    property. The cure amount would include any sums in default that must be paid in order to avoid
                                                                                                    repossession or foreclosure. List and total any such amounts in the following chart. If necessary, list
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                                                                                                    additional entries on a separate page.
                                                                                               43
                                                                                                                  Name of Creditor              Property Securing the Debt             1/60th of the Cure Amount
                                                                                                    a.                                                                             $
                                                                                                    b.
                                                                                                                                                                                   $
                                                                                                    c.                                                                             $
                                                                                                                                                                                                                    $      N.A.

                                                                                                    Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority
                                                                                               44   claims, such as priority tax, child support and alimony claims, for which you were liable at the time of
                                                                                                    your bankruptcy filing. Do not include current obligations, such as those set out in Line 28.
                                                                                                                                                                                                                    $      N.A.
                                                                                                    Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete
                                                                                                    the following chart, multiply the amount in line a by the amount in line b, and enter the resulting
                                                                                                    administrative expense.

                                                                                                     a.       Projected average monthly Chapter 13 plan payment.                   $                 N.A.
                                                                                                              Current multiplier for your district as determined under
                                                                                               45
                                                                                                     b.       schedules issued by the Executive Office for United States
                                                                                                              Trustees. (This information is available at www.usdoj.gov/ust/
                                                                                                              or from the clerk of the bankruptcy court.)                          x                  N.A.
                                                                                                     c.       Average monthly administrative expense of Chapter 13 case            Total: Multiply Lines a and b
                                                                                                                                                                                                                    $      N.A.
                                                                                               46   Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                      $      N.A.
                                                                                                                                  Subpart D: Total Deductions from Income
                                                                                               47   Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                     $      N.A.
                                                                                                    Case 09-33843-MBK                Doc 1      Filed 09/10/09 Entered 09/10/09 12:45:06                       Desc Main
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                                                                                                                  Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
                                                                                               48   Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                          $          N.A.
                                                                                               49   Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                               $          N.A.
                                                                                               50   Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the
                                                                                                    result.                                                                                                         $          N.A.
                                                                                               51   60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the
                                                                                                    number 60 and enter the result.                                                                                 $          N.A.
                                                                                                    Initial presumption determination. Check the applicable box and proceed as directed.
                                                                                                       The amount on Line 51 is less than $6,575. Check the box for “The presumption does not arise” at the top of
                                                                                                       page 1 of this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.

                                                                                               52      The amount set forth on Line 51 is more than $10,950. Check the “Presumption arises” box at the top of
                                                                                                       page 1 of this statement, and complete the verification in Part VIII. You may also complete Part VII. Do not complete
                                                                                                       the remainder of Part VI.
                                                                                                       The amount on Line 51 is at least $6,575, but not more than $10,950. Complete the remainder of Part
                                                                                                       VI (Lines 53 through 55).

                                                                                               53   Enter the amount of your total non-priority unsecured debt                                                      $          N.A.

                                                                                               54   Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and
                                                                                                    enter                                                                                                           $          N.A.
                                                                                                    the result.
                                                                                                    Secondary presumption determination. Check the applicable box and proceed as directed.
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                                                                                                       The amount on Line 51 is less than the amount on Line 54. Check the box for “The presumption does
                                                                                                       not arise” at the top of page 1 of this statement, and complete the verification in Part VIII.
                                                                                               55
                                                                                                       The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for “The
                                                                                                       presumption arises” at the top of page 1 of this statement, and complete the verification in Part VIII. You may also
                                                                                                       complete Part VII.

                                                                                                                              Part VII: ADDITIONAL EXPENSE CLAIMS
                                                                                                    Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the
                                                                                                    health and welfare of you and your family and that you contend should be an additional deduction from your current monthly
                                                                                                    income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your
                                                                                                    average monthly expense for each item. Total the expenses.


                                                                                                                                    Expense Description                                                 Monthly Amount
                                                                                               56
                                                                                                         a.                                                                                        $                    N.A.
                                                                                                         b.                                                                                        $                    N.A.
                                                                                                         c.                                                                                        $                    N.A.
                                                                                                                                                       Total: Add Lines a, b and c                                      N.A.

                                                                                                                                           Part VIII: VERIFICATION
                                                                                                    I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
                                                                                                    both debtors must sign.)

                                                                                                        Date:     9/1/09                           Signature:          /s/ DAVID BECKER
                                                                                                                                                                          (Debtor)
                                                                                               57
                                                                                                                  9/1/09                                               /s/ BONNIE BECKER
                                                                                                        Date:                                      Signature:
                                                                                                                                                                        (Joint Debtor, if any)
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                                                                                                                                   Form 22 Continuation Sheet
                                                                                               Income Month 1                                            Income Month 2

                                                                                               Gross wages, salary, tips...        1,300.00   2,662.63   Gross wages, salary, tips...        1,300.00   2,662.63
                                                                                               Income from business...                 0.00       0.00   Income from business...                 0.00       0.00
                                                                                               Rents and real property income...       0.00       0.00   Rents and real property income...       0.00       0.00
                                                                                               Interest, dividends...                  0.00       0.00   Interest, dividends...                  0.00       0.00
                                                                                               Pension, retirement...                  0.00       0.00   Pension, retirement...                  0.00       0.00
                                                                                               Contributions to HH Exp...              0.00       0.00   Contributions to HH Exp...              0.00       0.00
                                                                                               Unemployment...                         0.00    444.76    Unemployment...                         0.00    444.76
                                                                                               Other Income...                         0.00       0.00   Other Income...                         0.00       0.00



                                                                                               Income Month 3                                            Income Month 4


                                                                                               Gross wages, salary, tips...        1,300.00   2,662.63   Gross wages, salary, tips...        1,300.00   2,662.63
                                                                                               Income from business...                 0.00       0.00   Income from business...                 0.00       0.00
                                                                                               Rents and real property income...       0.00       0.00   Rents and real property income...       0.00       0.00
                                                                                               Interest, dividends...                  0.00       0.00   Interest, dividends...                  0.00       0.00
                                                                                               Pension, retirement...                  0.00       0.00   Pension, retirement...                  0.00       0.00
                                                                                               Contributions to HH Exp...              0.00       0.00   Contributions to HH Exp...              0.00       0.00
                                                                                               Unemployment...                         0.00    444.76    Unemployment...                         0.00    444.76
                                                                                               Other Income...                         0.00       0.00   Other Income...                         0.00       0.00
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                                                                                               Income Month 5                                            Income Month 6

                                                                                               Gross wages, salary, tips...        1,300.00   2,662.63   Gross wages, salary, tips...        1,300.00   2,662.63
                                                                                               Income from business...                 0.00       0.00   Income from business...                 0.00       0.00
                                                                                               Rents and real property income...       0.00       0.00   Rents and real property income...       0.00       0.00
                                                                                               Interest, dividends...                  0.00       0.00   Interest, dividends...                  0.00       0.00
                                                                                               Pension, retirement...                  0.00       0.00   Pension, retirement...                  0.00       0.00
                                                                                               Contributions to HH Exp...              0.00       0.00   Contributions to HH Exp...              0.00       0.00
                                                                                               Unemployment...                         0.00    444.76    Unemployment...                         0.00    444.76
                                                                                               Other Income...                         0.00       0.00   Other Income...                         0.00       0.00



                                                                                                                            Additional Items as Designated, if any




                                                                                                                                                Remarks
